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                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION

                                                                    )
    In re:                                                          )      Chapter 11
                                                                    )
    CENTER FOR AUTISM AND RELATED                                   )      Case No. 23-90709 (DRJ)
                            1
    DISORDERS, LLC, et al.,                                         )
                                                                    )
                              Debtors.                              )      (Joint Administration Requested)
                                                                    )

                            JOINT CHAPTER 11 PLAN OF
     CENTER FOR AUTISM AND RELATED DISORDERS, LLC AND ITS DEBTOR AFFILIATES


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Dated: June 12, 2023




    1   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
        number, are: Center for Autism and Related Disorders, LLC (1512); CARD Holdings, LLC (1453); CARD
        Intermediate Holdings I, LLC (N/A); CARD Intermediate Holdings II, LLC (3953); and SKILLS Global, LLC
        (4192). The location of the Debtors’ principal place of business is 9089 S Pecos Rd., Suite 3600, Henderson,
        Nevada 89074.
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                                                  INTRODUCTION

          Center for Autism and Related Disorders, LLC, and the above-captioned debtors and debtors in possession
(collectively, the “Debtors”), propose this joint chapter 11 plan for the resolution of the outstanding claims against,
and interests in, the Debtors. Holders of Claims or Interests may refer to the Disclosure Statement for a discussion
of the Debtors’ history, businesses, assets, results of operations, historical financial information, risk factors, a
summary and analysis of this Plan, the Restructuring Transactions, and certain related matters. The Debtors are the
proponents of the Plan within the meaning of section 1129 of the Bankruptcy Code. Although proposed jointly for
administrative purposes, the Plan constitutes a separate Plan for each Debtor for the resolution of outstanding Claims
against and Interests in each Debtor pursuant to the Bankruptcy Code. The classification of Claims and Interests set
forth in Article III of this Plan shall be deemed to apply separately with respect to each Plan proposed by each
Debtor, as applicable.

      ALL HOLDERS OF CLAIMS, TO THE EXTENT APPLICABLE, ARE ENCOURAGED TO READ
THE PLAN AND THE DISCLOSURE STATEMENT IN THEIR ENTIRETY BEFORE VOTING TO ACCEPT
OR REJECT THE PLAN.

                                            ARTICLE I.
                             DEFINED TERMS, RULES OF INTERPRETATION,
                             COMPUTATION OF TIME, AND GOVERNING LAW

A.       Defined Terms.

         As used in this Plan, capitalized terms have the meanings set forth below.

         1.       “Administrative Claim” means a Claim for costs and expenses of administration of the Chapter 11
Cases pursuant to sections 327, 328, 330, 365, 503(b), 507(a), 507(b), or 1114(e)(2) of the Bankruptcy Code,
including: (a) the actual and necessary costs and expenses of preserving the Estates and operating the businesses of
the Debtors incurred on or after the Petition Date and through and including the Effective Date; (b) Allowed
Professional Fee Claims; (c) DIP Claims; (d) Credit Facility Adequate Protection Claims; and (e) all fees and
charges assessed against the Estates under chapter 123 of the Judicial Code.

          2.       “Administrative Claims Bar Date” means the deadline for Filing requests for payment of General
Administrative Claims and Professional Fee Claims, which: (a) with respect to other General Administrative Claim,
shall be thirty days after the Effective Date; and (b) with respect to Professional Fee Claims, shall be sixty days after
the Effective Date.

        3.        “Affiliate” has the meaning set forth in section 101(2) of the Bankruptcy Code as if the reference
Entity was a debtor in a case under the Bankruptcy Code.

          4.      “Allowed” means, with respect to any Claim, except as otherwise provided herein: (a) a Claim
that is evidenced by a Proof of Claim Filed by the applicable Claims Bar Date or a request for payment of an
Administrative Claim Filed by the Administrative Claims Bar Date, as applicable (or for which Claim a Proof of
Claim is not required under the Plan, the Bankruptcy Code, or a Final Order, including the DIP Order); (b) a Claim
that is scheduled by the Debtors as not contingent, not unliquidated, and not disputed, and for which no Proof of
Claim, as applicable, has been timely Filed; or (c) a Claim allowed pursuant to the Plan or a Final Order, including
the DIP Order; provided, that with respect to a Claim described in clauses (a) and (b) above, such Claim shall be
Allowed only if and to the extent that with respect to such Claim no objection to the allowance thereof is interposed
within the applicable period of time fixed by the Plan, the Bankruptcy Code, the Bankruptcy Rules, or the
Bankruptcy Court, or such an objection is so interposed and the Claim has been Allowed by a Final Order. Any
Claim that has been or is hereafter listed as contingent, unliquidated, or disputed, and for which no contrary or
superseding Proof of Claim is or has been timely Filed, or that is not or has not been Allowed by a Final Order, is
not considered Allowed and shall be expunged without further action by the Debtors and without further notice to
any party or action, approval, or order of the Bankruptcy Court. Unless expressly waived by the Plan, the Allowed
amount of Claims or Interests shall be subject to and shall not exceed the limitations or maximum amounts



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permitted by the Bankruptcy Code, including sections 502 or 503 of the Bankruptcy Code, to the extent applicable.
Notwithstanding anything to the contrary herein, no Claim of any Entity subject to section 502(d) of the Bankruptcy
Code shall be deemed Allowed unless and until such Entity pays in full the amount that it owes the applicable
Debtor or Wind-Down Debtor, as applicable. For the avoidance of doubt, a Proof of Claim Filed after the Claims
Bar Date or a request for payment of an Administrative Claim Filed after the Administrative Claims Bar Date, as
applicable, shall not be Allowed for any purposes whatsoever absent entry of a Final Order allowing such late-Filed
Claim. “Allow” and “Allowing” shall have correlative meanings.

         5.       “Asset Purchase Agreement” means the definitive purchase agreement for an Asset Sale, including
all exhibits and schedules thereto, and as may be amended, modified, or supplemented in accordance with the
terms thereof.

         6.        “Asset Sale(s)” means the sale(s), if any, in one or more transactions, of all, substantially all, or a
portion of the Estates’ assets pursuant to section 363 of the Bankruptcy Code.

         7.       “Asset Sale Proceeds” means any Cash proceeds of the Asset Sale(s).

        8.      “Assumed Executory Contracts and Unexpired Leases Schedules” means the (a) Assumed
Wind-Down Executory Contracts and Unexpired Leases Schedule and the (b) Assumed and Assigned Stalking
Horse Bidder Executory Contracts and Unexpired Leases Schedule, each of which shall be included in the Plan
Supplement, and which may be amended, modified, or supplemented from time to time.

         9.       “Assumed Wind-Down Executory Contracts and Unexpired Leases Schedule” means the schedule
of Executory Contracts and Unexpired Leases to be assumed by the Wind-Down Debtors, pursuant to the Plan,
which shall be included in the Plan Supplement, as the same may be amended, modified, or supplemented from time
to time.

         10.      “Assumed and Assigned Stalking Horse Bidder Executory Contracts and Unexpired Leases
Schedule” means the Executory Contracts and Unexpired Leases to be assumed and assigned to the Stalking Horse
Bidder (if any), pursuant to the Plan, which shall be included in the Plan Supplement, as the same may be amended,
modified, or supplemented from time to time.

         11.      “Auction” means the auction (if any) held pursuant to the Bidding Procedures.

          12.      “Avoidance Actions” means any and all avoidance, recovery, subordination, or other claims and
Causes of Action that may be brought by or on behalf of the Debtors or their Estates or other authorized parties in
interest under the Bankruptcy Code or applicable non-bankruptcy law, including actions or remedies under sections
510, 542, 544, 545, and 547 through and including 553 of the Bankruptcy Code, or other similar or related state,
federal, or foreign statutes, common law, or other applicable Law.

       13.       “Bankruptcy Code” means title 11 of the United States Code, 11 U.S.C. §§ 101–1532, as
amended, and as applicable to the Chapter 11 Cases.

         14.      “Bankruptcy Court” means the United States Bankruptcy Court for the Southern District of Texas.

         15.     “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure promulgated under
section 2075 of the Judicial Code and the general, local, and chambers rules of the Bankruptcy Court, each, as
amended from time to time, and as applicable to the Chapter 11 Cases.

         16.      “Bar Date(s)” means the applicable date(s) designated by the Bankruptcy Court (or pursuant to the
Bankruptcy Rules) as the last date for Filing Proofs of Claims or Interests in the Chapter 11 Cases of the respective
Debtors, including the Claims Bar Date, the Governmental Unit Bar Date, and any Administrative Claims Bar Date.

         17.      “Bar Date Order” means the order of the Bankruptcy Court that establishes the applicable date(s)
as the Bar Date(s).



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          18.      “Bidding Procedures” means the procedures governing the Auction and sale of all, substantially
all, or a portion of the Debtors’ assets, as approved by the Bankruptcy Court and as may be amended from time to
time in accordance with the terms thereof.

         19.      “Business Day” means any day other than a Saturday, Sunday, a “legal holiday” (as defined in
section 9006(a) of the Bankruptcy Code), or other day on which commercial banks are authorized to close under the
Laws of, or are in fact closed in, the state of New York.

         20.      “CARD Parent” means CARD Holdings LLC.

        21.       “Cash” means cash in legal tender of the United States of America and cash equivalents, including
bank deposits, checks, and other similar items.

         22.      “Cash Collateral” has the meaning ascribed to such term in section 363(a) of the Bankruptcy
Code.

          23.       “Causes of Action” means any claims, cross-claims, interests, damages, remedies, causes of action,
demands, rights, actions, controversies, proceedings, agreements, suits, obligations, liabilities, judgments, accounts,
defenses, offsets, powers, privileges, licenses, Liens, indemnities, guaranties, and franchises of any kind or character
whatsoever, whether known or unknown, foreseen or unforeseen, existing or hereinafter arising, contingent or
non-contingent, liquidated or unliquidated, disputed or undisputed, secured or unsecured, assertable, directly or
derivatively, matured or unmatured, suspected or unsuspected, whether arising before, on, or after the Petition Date,
in contract, tort, law, equity, or otherwise. Causes of Action also include: (a) all rights of setoff, counterclaim, or
recoupment and claims under contracts or for breaches of duties imposed by law or in equity; (b) any claim based on
or relating to, or in any manner arising from, in whole or in part, tort, breach of contract, tortious interference,
breach of fiduciary duty, violation of state or federal law or breach of any duty imposed by law or in equity,
including securities laws, negligence, and gross negligence; (c) the right to object to or otherwise contest Claims or
Interests; (d) claims pursuant to section 362 or chapter 5 of the Bankruptcy Code; (e) such claims and defenses as
fraud, mistake, duress, and usury, and any other defenses set forth in section 558 of the Bankruptcy Code; and
(f) any other Avoidance Action.

          24.      “Chapter 11 Cases” means (a) when used with reference to a particular Debtor, the case pending
for that Debtor under chapter 11 of the Bankruptcy Code in the Bankruptcy Court and (b) when used with reference
to all the Debtors, the procedurally consolidated chapter 11 cases pending for the Debtors in the Bankruptcy Court.

        25.       “Claim” means any claim, as defined in section 101(5) of the Bankruptcy Code, against any of the
Debtors or any of the Estates.

         26.       “Claims and Noticing Agent” means Stretto, Inc., the claims, noticing, and solicitation agent
retained or to be retained by the Debtors in the Chapter 11 Cases.

          27.      “Claims Bar Date” means the date established by the Bankruptcy Court by which Proofs of Claim
must be Filed with respect to Claims, other than Administrative Claims, Claims held by Governmental Units, or
other Claims or Interests for which the Bankruptcy Court entered an order excluding the holders of such Claims or
Interests from the requirement of Filing Proofs of Claim.

        28.     “Claims Register” means the official register of Claims maintained by the Claims and
Noticing Agent.

         29.     “Class” means a class of Claims or Interests as set forth in Article III of the Plan in accordance
with section 1122(a) of the Bankruptcy Code.

         30.      “CM/ECF” means the Bankruptcy Court’s Case Management and Electronic Case Filing system.




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        31.      “Committee” means the official committee of unsecured creditors, if any, appointed in the
Chapter 11 Cases pursuant to section 1102(a) of the Bankruptcy Code.

        32.      “Confirmation” means the Bankruptcy Court’s entry of the Confirmation Order on the docket of
the Chapter 11 Cases.

       33.      “Confirmation Date” means the date upon which the Bankruptcy Court enters the
Confirmation Order on the docket of the Chapter 11 Cases, within the meaning of Bankruptcy Rules 5003 and 9021.

         34.     “Confirmation Hearing” means the hearing to be held by the Bankruptcy Court to consider
confirmation of the Plan, pursuant to Bankruptcy Rule 3020(b)(2) and sections 1128 and 1129 of the Bankruptcy
Code, as such hearing may be continued from time to time.

        35.       “Confirmation Order” means the order of the Bankruptcy Court in form and substance reasonably
acceptable to the DIP Agent confirming the Plan pursuant to section 1129 of the Bankruptcy Code.

            36.   “Consummation” means the occurrence of the Effective Date as to the applicable Debtor.

         37.        “Covered Claims” means any Claim or Cause of Action related to any act or omission in
connection with, relating to, or arising out of the Chapter 11 Cases, the formulation, preparation, dissemination,
negotiation, or filing of the Stalking Horse Agreement and related prepetition transactions, the pre- and postpetition
marketing process, the DIP Facilities, pursuit of the Asset Sale(s), the Disclosure Statement, the Plan, the Plan
Supplement, or any Restructuring Transaction, contract, instrument, release, or other agreement or document created
or entered into in connection with the Restructuring Support Agreement, the DIP Facilities, the Disclosure
Statement, the Plan, the Plan Supplement, the Asset Purchase Agreement(s) (if any), the Chapter 11 Cases, the
Filing of the Chapter 11 Cases, the DIP Documents, solicitation of votes on the Plan, the prepetition negotiation and
settlement of Claims, the pursuit of Confirmation, the pursuit of consummation, the administration and
implementation of the Plan, or the distribution of property under the Plan or any other related agreement, or upon
any other related act or omission, transaction, agreement, event or other occurrence taking place on or after the
Petition Date on or before the Effective Date.

         38.     “Covered Party” means, with respect to the Debtors and Wind-Down Debtors, each Debtor
Related Party and Wind-Down Debtor Related Party, including, for the avoidance of doubt, each such Entity’s
current and former Affiliates, directors, board observers, managers, officers, control persons, principals, members,
employees, agents, advisory board members, financial advisors, partners, attorneys, accountants, investment
bankers, consultants, and other professionals, each in their capacity as such.

         39.      “Credit Agreement” means that certain amended and restated facility agreement, dated as of
November 21, 2018, by and among certain of the Debtors, as borrowers or guarantors, the lenders party thereto from
time to time, and the agent thereunder, as amended, amended and restated, supplemented, or otherwise modified
from time to time prior to the Petition Date.

            40.   “Credit Documents” means the Credit Agreement and any other document governing the Credit
Facility.

       41.        “Credit Facility” means that certain prepetition credit facility provided for under the Credit
Agreement.

        42.      “Credit Facility Adequate Protection Claims” means any Claims granted to the Credit Facility
Lenders as adequate protection pursuant to the DIP Orders.

        43.     “Credit Facility Claims” means any and all Claims arising under, derived from, or based upon the
Credit Agreement.




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        44.       “Credit Facility Agent” means Ares Capital Corporation, or its duly appointed successor as
administrative agent under the Credit Facility.

          45.        “Credit Facility Deficiency Claims” means any portion of the Credit Facility Claims that is not
satisfied in full from the Asset Sale Proceeds of all Credit Facility Collateral.

         46.      “Credit Facility Collateral” means “Collateral” as such term is defined in the Credit Agreement.

         47.      “Credit Facility Lenders” means the lenders party to the Credit Agreement from time to time.

         48.      “Cure” means all amounts, including an amount of $0.00, required to cure any monetary defaults
under any Executory Contract or Unexpired Lease (or such lesser amount as may be agreed upon by the parties
under an Executory Contract or Unexpired Lease) assumed by the Debtors or assumed and assigned to a Purchaser,
as applicable, pursuant to sections 365 or 1123 of the Bankruptcy Code, other than a default that is not required to be
cured pursuant to section 365(b)(2) of the Bankruptcy Code.

         49.       “Cure Notice” means, with respect to an Executory Contract or Unexpired Lease to be assumed
under the Plan or assumed and assigned under any Asset Purchase Agreement pursuant to section 365 of the
Bankruptcy Code, a notice that (a) sets forth the proposed amount to be paid on account of a Cure Claim in
connection with the assumption of such Executory Contract or Unexpired Lease; (b) notifies the counterparty to
such Executory Contract or Unexpired Lease that such party’s Executory Contract or Unexpired Lease may be
assumed under the Plan or assumed and assigned to a Purchaser in connection with any Asset Sale; (c) sets forth the
procedures for objecting to the proposed assumption or assumption and assignment of Executory Contracts and
Unexpired Leases, including the proposed objection deadline, and for the resolution by the Bankruptcy Court of any
such disputes; and (d) states that the proposed assignee (if applicable) has demonstrated its ability to comply with
the requirements of adequate assurance of future performance of the Executory Contract(s) to be assigned, including
the assignee’s financial wherewithal and willingness to perform under such Executory Contract or Unexpired Lease.

          50.       “Cure/Assumption Objection Deadline” means the date that is 14 days after Filing of the
Assumed Executory Contracts and Unexpired Leases Schedules and service of the Cure Notice; provided that if any
Executory Contract or Unexpired Lease is added to the Assumed Executory Contracts and Unexpired Leases
Schedules after the Filing of the initial Assumed Executory Contracts and Unexpired Leases Schedules, or an
Executory Contract or Unexpired Lease proposed to be assumed by the Debtors is proposed to be assigned to a third
party after the Filing of the initial Assumed Wind-Down Executory Contracts and Unexpired Leases Schedules, then
the Cure/Assumption Objection Deadline with respect to such Executory Contract or Unexpired Lease shall be the
earlier of (a) 14 days after service of the amended Assumed Executory Contracts and Unexpired Leases Schedules
with such modification and (b) the date of the scheduled Confirmation Hearing or Sale Hearing, as applicable.

         51.     “D&O Liability Insurance Policies” means all insurance policies of any of the Debtors for
directors’, managers’, and officers’ liability existing as of the Petition Date (including any “tail policy”) and all
agreements, documents, or instruments relating thereto.

         52.      “Debtor Release” means the release set forth in Article IX.C of the Plan.

         53.     “DIP Agent” means Ares Capital Corporation in its capacity as administrative and collateral agent
under the DIP Credit Agreement.

        54.     “DIP Claim” means any and all Claims arising under, derived from, or based upon the DIP
Documents, including claims for principal amounts outstanding, interest, fees, expenses, costs and other charges of
the DIP Agent and the DIP Lenders arising under or related to the DIP Facility.

         55.     “DIP Credit Agreement” means the definitive superpriority senior secured debtor-in-possession
credit agreement, dated as of [__], 2023, by and among the Debtors party thereto, the DIP Agent and the DIP
Lenders, as amended, amended and restated, supplemented, or otherwise modified in accordance with its terms.




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          56.     “DIP Documents” means the DIP Credit Agreement and any other documentation governing the
DIP Facility, including the DIP Orders, which shall be in form and substance acceptable to the DIP Lenders in all
respects.

         57.      “DIP Facility” means the credit facility provided for under the DIP Credit Agreement.

         58.      “DIP Lenders” means the lenders party to the DIP Credit Agreement from time to time.

         59.      “DIP Loans” means the loans under the DIP Facility.

         60.      “DIP Order” means any order entered in the Chapter 11 Cases approving the DIP Facility,
including the Interim DIP Order and the Final DIP Order, which shall be in form and substance acceptable to the
DIP Lenders.

         61.       “Disclosure Statement” means the related disclosure statement with respect to this Plan, including
all exhibits and schedules thereto and references therein that relate to this Plan, as may be amended, supplemented,
or modified from time to time, that is prepared and distributed in accordance with the Bankruptcy Code, the
Bankruptcy Rules, and any other applicable law.

          62.       “Disputed” means, as to a Claim or an Interest, any Claim or Interest: (a) that is not Allowed;
(b) that is not disallowed by the Plan, the Bankruptcy Code, or a Final Order, as applicable; (c) as to which a dispute
is being adjudicated by a court of competent jurisdiction in accordance with non-bankruptcy law; (d) that is Filed in
the Bankruptcy Court and not withdrawn, as to which an objection or request for estimation has been Filed; and
(e) with respect to which a party in interest has Filed a Proof of Claim or otherwise made a written request to a
Debtor for payment, without any further notice to or action, order, or approval of the Bankruptcy Court.

         63.      “Distributable Asset Sale Proceeds” means the Asset Sale Proceeds, less (i) the Wind-Down
Budget, and (ii) in the case of an Asset Sale consummated with a Purchaser other than the Stalking Horse Bidder,
the Bid Protection and Expense Reimbursement, in each case, payable pursuant to the terms of the Stalking Horse
APA.

        64.      “Distribution Agent” means the Wind-Down Debtors or the Entity or Entities selected by the
Debtors or the Wind-Down Debtors, as applicable, to make or facilitate distributions pursuant to the Plan.

          65.     “Distribution Date” means, except as otherwise set forth herein, the date or dates determined by
the Debtors or the Wind-Down Debtors, on or after the Effective Date, with the first such date occurring on or as
soon as is reasonably practicable after the Effective Date, upon which the Distribution Agent shall make
distributions to Holders of Allowed Claims entitled to receive distributions under the Plan.

         66.      “Distribution Record Date” means the record date for purposes of determining which Holders of
Allowed Claims are eligible to receive distributions under the Plan on account of Allowed Claims, which date shall
be on or as soon as is reasonably practicable after the Effective Date.

         67.      “Effective Date” means, as to the applicable Debtor, the date that is the first Business Day on
which (a) all conditions precedent to the occurrence of the Effective Date set forth in Article X.A of the Plan have
been satisfied or waived in accordance with Article X.B of the Plan and (b) no stay of the Confirmation Order is in
effect. Any action to be taken on the Effective Date may be taken on or as soon as reasonably practicable thereafter.

         68.      “Entity” has the meaning set forth in section 101(15) of the Bankruptcy Code.

         69.      “Estate” means as to each Debtor, the estate created for such Debtor in its Chapter 11 Case
pursuant to section 541 of the Bankruptcy Code upon the commencement of such Debtor’s Chapter 11 Case and all
property (as defined in section 541 of the Bankruptcy Code) acquired by such Debtor after the Petition Date and
before the Effective Date.




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         70.      “Exculpated Parties” means the Debtors.

         71.     “Executory Contract” means a contract to which one or more of the Debtors is a party and that is
subject to assumption or rejection under section 365 of the Bankruptcy Code.

       72.       “Existing Parent Interests” means, collectively, all Interests in CARD Parent outstanding
immediately prior to the Effective Date.

         73.       “Federal Judgment Rate” means the federal judgment rate in effect as of the Petition Date
calculated as set forth in section 1961 of the Judicial Code.

        74.       “File,” “Filed,” or “Filing” means file, filed, or filing with the Bankruptcy Court or its authorized
designee in the Chapter 11 Cases.

         75.     “Final DIP Order” means the Bankruptcy Court’s Final Order, in form and substance acceptable
to the DIP Lenders, approving the DIP Facility and the Debtors’ use of Cash Collateral on a final basis (as amended,
modified, or supplemented from time to time in accordance with the terms thereof).

          76.      “Final Order” means an order or judgment of the Bankruptcy Court, or other court of competent
jurisdiction with respect to the subject matter that has not been reversed, stayed, modified, or amended, as entered
on the docket in any Chapter 11 Case or the docket of any other court of competent jurisdiction, and as to which the
time to appeal, or seek certiorari or move for a new trial, reargument, or rehearing has expired and no appeal or
petition for certiorari or other proceedings for a new trial, reargument, or rehearing has been timely taken, or as to
which any appeal that has been taken or any petition for certiorari that has been or may be timely Filed has been
withdrawn or resolved by the highest court to which the order or judgment was appealed or from which certiorari
was sought or the new trial, reargument, or rehearing will have been denied, resulted in no stay pending appeal of
such order, or has otherwise been dismissed with prejudice; provided that the possibility that a motion under Rule 60
of the Federal Rules of Civil Procedure, or any analogous rule under the Bankruptcy Rules, may be Filed with
respect to such order will not preclude such order from being a Final Order.

        77.      “General Administrative Claim” means any Administrative Claim other than a Professional Fee
Claim or a DIP Claim.

         78.       “General Unsecured Claim” means any Claim, including any Credit Facility Deficiency Claim,
against any of the Debtors that is not: (a) paid in full prior to the Effective Date pursuant to an order of the
Bankruptcy Court; (b) an Administrative Claim; (c) an Other Secured Claim; (d) an Other Priority Claim;
(e) a Credit Facility Claim (other than a Credit Facility Deficiency Claim, if any); (f) an Intercompany Claim; or
(g) a Section 510(b) Claim.

       79.     “Governing Body” means, in each case in its capacity as such, the board of directors, board of
managers, manager, general partner, special committee, or such similar governing body of any of the Debtors or the
Wind-Down Debtors, as applicable.

         80.      “Governmental Unit” has the meaning set forth in section 101(27) of the Bankruptcy Code.

         81.      “Governmental Unit Bar Date” means the date by which Proofs of Claim must be Filed with
respect to Claims held by Governmental Units.

         82.      “Holder(s)” means an Entity holding a Claim against or an Interest in a Debtor, as applicable.

          83.     “Impaired” means, with respect to a Class of Claims or Interests, a Class of Claims or Interests
that is impaired within the meaning of section 1124 of the Bankruptcy Code.

          84.      “Intercompany Claim” means any Claim held by a Debtor against another Debtor arising before
the Petition Date.



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         85.      “Intercompany Interest” means any Interest held by a Debtor in another Debtor.

         86.       “Interests” means any equity security (as defined in section 101(16) of the Bankruptcy Code) of a
Debtor, and all common stock, preferred stock, limited partner interests, general partner interests, limited liability
company interests, and any other equity, ownership, beneficial or profits interests in any of the Debtors, whether or
not transferable, and options, warrants, rights, or other securities, agreements or interests to acquire or subscribe for,
or which are exercisable, convertible or exchangeable into or for the shares (or any class thereof) of, common stock,
preferred stock, limited partner interests, general partner interests, limited liability company interests, or other
equity, ownership, beneficial or profits interests in or of any Debtor, contractual or otherwise, including equity or
equity-based incentives, grants or other instruments issued, granted or promised to be granted to current or former
employees, directors, officers or contractors of the Debtors (in each case whether or not arising under or in
connection with any employment agreement).

        87.      “Interim DIP Order” means the Bankruptcy Court’s order, in form and substance acceptable to the
DIP Lenders, approving the DIP Facility and the Debtors’ use of Cash Collateral on an interim basis (as amended,
modified, or supplemented from time to time in accordance with the terms thereof).

          88.     “Judicial Code” means title 28 of the United States Code, 28 U.S.C. §§ 1–4001, as amended from
time to time, and as applicable to the Chapter 11 Cases.

         89.       “Law” means any federal, state, local, or foreign law (including common law), statute, code,
ordinance, rule, regulation, order, ruling, or judgment, in each case, that is validly adopted, promulgated, issued, or
entered by a governmental authority of competent jurisdiction (including the Bankruptcy Court).

         90.      “Lien” has the meaning set forth in section 101(37) of the Bankruptcy Code.

         91.      “Management Incentive Plan” means a management incentive plan, if any, implemented on or
after the Effective Date, in accordance with the Management Incentive Plan Term Sheet filed with the Plan
Supplement.

        92.       “Management Incentive Plan Term Sheet” means the term sheet for the Management Incentive
Plan, which shall be included in the Plan Supplement, if any.

        93.       “Other Priority Claim” means any Claim against any of the Debtors other than an Administrative
Claim or a Priority Tax Claim entitled to priority in right of payment under section 507(a) of the Bankruptcy Code.

         94.       “Other Secured Claims” means any Secured Claim other than a DIP Claim, a Secured Tax Claim,
or a Credit Facility Claim (other than a Credit Facility Deficiency Claim).

         95.      “Person” has the meaning set forth in section 101(41) of the Bankruptcy Code.

         96.      “Petition Date” means June 11, 2023.

          97.     “Plan” means this joint chapter 11 plan, the Plan Supplement, and all exhibits and schedules
annexed hereto or referenced herein, in each case, as may be amended, supplemented, or otherwise modified from
time to time in accordance with the Bankruptcy Code and the terms hereof.

          98.        “Plan Administrator” means the person selected by the Debtors and reasonably acceptable to the
Credit Facility Agent and the Sponsor to administer the Plan Administrator Assets in accordance with the Plan. All
costs, liabilities, and expenses reasonably incurred by the Plan Administrator, and any personnel employed by the
Plan Administrator in the performance of the Plan Administrator’s duties, shall be paid from the Plan Administrator
Assets, subject to and in accordance with the Wind-Down Budget.




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         99.      “Plan Administrator Agreement” means, if applicable, that certain agreement entered into no later
than the Effective Date setting forth, among other things, the Plan Administrator’s rights, powers, obligations, and
compensation, all of which shall be consistent with the applicable provisions of the Plan.

          100.   “Plan Administrator Assets” means, if applicable, on the Effective Date, all assets of the Estates
vested in the Wind-Down Debtors to be administered by Plan Administrator, and, thereafter, all assets held from
time to time by Wind-Down Debtors to be administered by Plan Administrator.

          101.      “Plan Distribution” means a payment or distribution to Holders of Allowed Claims, Allowed
Interests, or other eligible Entities under this Plan.

         102.    “Plan Supplement” means the compilation of documents and forms of documents, term sheets,
agreements, schedules, and exhibits to the Plan (in each case, as may be altered, amended, modified, or
supplemented from time to time in accordance with the terms hereof and in accordance with the Bankruptcy Code
and Bankruptcy Rules) to be Filed prior to the Confirmation Hearing to the extent available, and any additional
documents Filed prior to the Effective Date as amendments to the Plan Supplement, including the following, as
applicable: (a) to the extent known, the identity(ies) of the Plan Administrator; (b) the Assumed Executory
Contracts and Unexpired Leases Schedules; (c) the Schedule of Retained Causes of Action; (d) the Wind-Down
Budget; (e) the Restructuring Transactions Memorandum; and (f) the Management Incentive Plan Term Sheet, if
any. The Debtors shall have the right to alter, amend, modify, or supplement the documents contained in the Plan
Supplement up to the Effective Date as set forth in this Plan.

         103.     “Priority Tax Claim” means any Claim of a Governmental Unit of the kind specified in
section 507(a)(8) of the Bankruptcy Code.

         104.    “Pro Rata” means the proportion that an Allowed Claim or an Allowed Interest in a particular
Class bears to the aggregate amount of Allowed Claims or Allowed Interests in that Class, unless otherwise
indicated.

          105.     “Professional” means an Entity: (a) employed pursuant to a Bankruptcy Court order in
accordance with sections 327, 363, or 1103 of the Bankruptcy Code and to be compensated for services rendered
prior to or on the Confirmation Date, pursuant to sections 327, 328, 329, 330, 331, and 363 of the Bankruptcy Code;
or (b) awarded compensation and reimbursement by the Bankruptcy Court pursuant to section 503(b)(4) of the
Bankruptcy Code.

         106.      “Professional Fee Amount” means the aggregate amount of Professional Fee Claims and other
unpaid fees and expenses that the Professionals estimate they have incurred or will incur in rendering services to the
Debtors as set forth in Article II.C of this Plan.

         107.     “Professional Fee Claim” any Claim by a Professional for compensation for services rendered or
reimbursement of expenses incurred by such Professional on or after the Petition Date through and including the
Confirmation Date under sections 328, 330, 331, 503(b)(2), 503(b)(4), or 503(b)(5) of the Bankruptcy Code
(including transaction and success fees) to the extent such fees and expenses have not been paid pursuant to an order
of the Bankruptcy Court. To the extent the Bankruptcy Court denies or reduces by a Final Order any amount of a
Professional’s requested fees and expenses, then the amount by which such fees or expenses are reduced or denied
shall reduce the applicable Professional Fee Claim.

        108.     “Professional Fee Escrow Account” means an interest-bearing account funded by the Debtors with
Cash on the Effective Date in an amount equal to the Professional Fee Amount.

         109.    “Proof of Claim” means a proof of Claim Filed against any of the Debtors in the Chapter 11 Cases
by the Claims Bar Date, the Governmental Unit Bar Date or Administrative Claims Bar Date, as applicable.




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        110.    “Purchaser” means the purchaser or purchasers (including, if applicable, the Stalking Horse
Bidder) under any Asset Purchase Agreement(s), together with any successors to and permitted assigns of such
purchaser(s).

        111.     “Reinstate,” “Reinstated,” or “Reinstatement” means with respect to Claims and Interests, that the
Claim or Interest shall not be discharged hereunder and the Holder’s legal, equitable, and contractual rights on
account of such Claim or Interest shall remain unaltered by Consummation in accordance with section 1124(1) of
the Bankruptcy Code.

          112.    “Related Party” means each of, and in each case in its capacity as such, current and former
directors, managers, officers, committee members, members of any governing body, equity holders (regardless of
whether such interests are held directly or indirectly), affiliated investment funds or investment vehicles, managed
accounts or funds, predecessors, participants, successors, assigns, subsidiaries, affiliates, partners, limited partners,
general partners, principals, members, management companies, fund advisors or managers, employees, agents,
trustees, advisory board members, financial advisors, attorneys (including any other attorneys or professionals
retained by any current or former director or manager in his or her capacity as director or manager of an Entity),
accountants, investment bankers, consultants, representatives, and other professionals and advisors and any such
Person’s or Entity’s respective heirs, executors, estates, and nominees. For the avoidance of doubt, the members of
each Governing Body are Related Parties of the Debtors.

          113.     “Released Parties” means, each of, and in each case in its capacity as such: (a) the Debtors;
(b) the Wind-Down Debtors; (c) the Credit Facility Agent and each Credit Facility Lender; (d) the DIP Agent and
each DIP Lender; (e) all Holders of Interests; (f) the Sponsor; (g) the Purchaser(s); (h) each current and former
Affiliate of each Entity in clause (a) through the following clause (i); and (i) each Related Party of each Entity in
clause (a) through this clause (i); provided that, in each case, an Entity shall not be a Released Party if such Entity:
(x) elects to opt out of the releases contained in Article IX.D of the Plan; or (y) timely files with the Bankruptcy
Court on the docket of the Chapter 11 Cases an objection to the releases contained in Article IX.D of the Plan that is
not resolved before the Confirmation Date.

         114.     “Releasing Parties” means, each of, and in each case in its capacity as such: (a) the Debtors;
(b) the Wind-Down Debtors, as applicable; (c) the Credit Facility Agent and each Credit Facility Lender; (d) the DIP
Agent and each DIP Lender; (e) all Holders of Claims; (f) all Holders of Interests; (g) the Purchaser(s); (h) the
Sponsor; (i) each current and former Affiliate of each Entity in clause (a) through the following clause (j); and
(j) each Related Party of each Entity in clause (a) through this clause (j); provided that, in each case, an Entity shall
not be a Releasing Party if such Entity: (x) elects to opt out of the releases contained in Article IX.D of the Plan; or
(y) timely files with the Bankruptcy Court on the docket of the Chapter 11 Cases an objection to the releases
contained in Article IX.D of the Plan that is not resolved before the Confirmation Date.

          115.     “Restructuring Expenses” means the reasonable and documented prepetition and postpetition fees
and out-of-pocket expenses incurred by each of the following advisors: (a) Latham & Watkins LLP; and (b) Hunton
Andrews Kurth LLP, without further order of, or application to, the Bankruptcy Court, including, the requirement
for the filing of retention applications, fee applications, or any other applications in the Chapter 11 Cases, which
shall be Allowed as an Administrative Claim upon occurrence and shall not be subject to any offset, defense,
counter-claim, reduction, or credit.

         116.     “Restructuring Support Agreement” means that certain Restructuring Support Agreement, entered
into as of June 11, 2023, including all exhibits thereto, by and among the Debtors and other parties thereto, as may
be amended, modified, or supplemented from time to time, in accordance with its terms.

         117.      “Restructuring Transactions” means any transaction and any actions as may be necessary or
appropriate to effect a restructuring of the Debtors’ respective businesses or a corporate restructuring of the overall
corporate structure of the Debtors on the terms set forth in this Plan, the issuance of all Securities, notes,
instruments, certificates, and other documents required to be issued or executed pursuant to the Plan, one or more
inter-company mergers, consolidations, amalgamations, arrangements, continuances, restructurings, conversions,
dissolutions, transfers, liquidations, or other corporate transactions, as described in Article IV.A of the Plan.



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         118.     “Restructuring Transactions Memorandum” means the summary of transaction steps to complete
the Restructuring Transactions contemplated by the Plan or the Asset Sale(s), if applicable, which shall be (a)
included in the Plan Supplement; and (b) consistent with the Plan.

       119.     “Sale Hearing” means a hearing to approve any Asset Sale, which hearing may be the
Confirmation Hearing.

        120.    “Sale Order” means, with respect to any Asset Sale consummated pursuant to section 363 of the
Bankruptcy Code, the Final Order of the Bankruptcy Court, in form and substance reasonably acceptable to the DIP
Agent, approving such Asset Sale pursuant to the applicable Asset Purchase Agreement, which order may be the
Confirmation Order.

         121.     “Schedule of Retained Causes of Action” means the schedule of certain Causes of Action of the
Debtors that are not released, waived, or transferred pursuant to the Plan, as the same may be amended, modified, or
supplemented from time to time.

         122.     “SEC” means the U.S. Securities and Exchange Commission.

         123.     “Section 510(b) Claim” means any Claim against a Debtor subject to subordination under
section 510(b) of the Bankruptcy Code, whether by operation of law or contract.

          124.    “Secured Claim” means a Claim: (a) secured by a valid, perfected, and enforceable Lien on
collateral to the extent of the value of such collateral, as determined in accordance with section 506(a) of the
Bankruptcy Code or (b) subject to a valid right of setoff pursuant to section 553 of the Bankruptcy Code to the
extent of the amount subject to setoff.

         125.      “Secured Tax Claim” means any Secured Claim that, absent its secured status, would be entitled to
priority in right of payment under section 507(a)(8) of the Bankruptcy Code (determined irrespective of time
limitations), including any related Secured Claim for penalties.

         126.      “Securities Act” means the Securities Act of 1933, as amended, 15 U.S.C. §§ 77a–77aa, or any
similar federal, state, or local law, as now in effect or hereafter amended, and the rules and regulations promulgated
thereunder.

         127.     “Security” means any security, as defined in section 2(a)(1) of the Securities Act.

          128.   “Sponsor” means, collectively, Cardinal Buyer, LLC and Blackstone Capital Partners VII L.P.,
and any of their respective affiliates and funds or partnerships managed or advised by them or their respective
affiliates.

         129.     “Stalking Horse Bid” means the bid submitted by the Stalking Horse Bidder.

        130.      “Stalking Horse Bidder” means Pantogran LLC and its designees as Purchaser of certain of the
Debtors’ assets pursuant to and in accordance with the Asset Purchase Agreement dated June 9, 2023.

         131.     “Third-Party Release” means the release set forth in Article IX.D of the Plan.

        132.      “Unexpired Lease” means a lease to which one or more of the Debtors is a party that is subject to
assumption or rejection under section 365 of the Bankruptcy Code.

          133.    “Unimpaired” means with respect to a Class of Claims or Interests, a Class of Claims or Interests
that is unimpaired within the meaning of section 1124 of the Bankruptcy Code.

         134.     “Unsecured Claim” means any Claim that is not a Secured Claim.




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         135.     “U.S. Trustee” means the Office of the United States Trustee for the Southern District of Texas.

         136.      “U.S. Trustee Fees” means fees arising under 28 U.S.C. § 1930(a)(6) and, to the extent applicable,
accrued interest thereon arising under 31 U.S.C. § 3717.

        137.      “Wind-Down” means the wind down and liquidation and dissolution of the Debtors’ Estates
following the Effective Date as set forth in Article VII.B hereof.

          138.    “Wind-Down Budget” means a budget, in form and substance mutually acceptable to the DIP
Agent, the Sponsor, and the Debtors, for the reasonable activities and expenses to be incurred in winding down and
liquidating and dissolving the Debtors’ Estates, as set forth in the Plan Supplement.

         139.     “Wind-Down Debtor” means a Debtor, or any successor or assign thereto, by merger,
consolidation, reorganization, or otherwise, in the form of a corporation, limited liability company, partnership, or
other form, as the case may be, on or after the Effective Date, and as described in Article VII.B to, among other
things, effectuate the Wind-Down of the Debtors and the Wind-Down Debtor, commence, litigate and settle any
Causes of Action that have vested that are not released, waived, settled, compromised, or transferred under the Plan
and make distributions pursuant to the terms of the Plan and the Plan Administrator Agreement, provided that, for
the avoidance of doubt, the Wind-Down Debtor shall not conduct any business operations or continue the Debtors’
business operations after the Effective Date.

        140.      “Wind-Down Proceeds” means the remaining amount (if any) of funds held by the Plan
Administrator in excess of the Wind-Down Budget, including the proceeds of any Causes of Action set forth on the
Schedule of Retained Causes of Action.

B.       Rules of Interpretation.

          For purposes of this Plan: (1) in the appropriate context, each term, whether stated in the singular or the
plural, shall include both the singular and the plural, and pronouns stated in the masculine, feminine, or neuter
gender shall include the masculine, feminine, and the neuter gender; (2) unless otherwise specified, any reference
herein to a contract, lease, instrument, release, indenture, or other agreement or document being in a particular form
or on particular terms and conditions means that the referenced document shall be substantially in that form or
substantially on those terms and conditions; (3) unless otherwise specified, any reference herein to an existing
document, schedule, or exhibit, whether or not Filed, having been Filed or to be Filed shall mean that document,
schedule, or exhibit, as it may thereafter be amended, modified, or supplemented in accordance with the Plan or
Confirmation Order, as applicable; (4) any reference to an Entity as a Holder of a Claim or Interest includes that
Entity’s successors and assigns; (5) unless otherwise specified, all references herein to “Articles” are references to
Articles hereof or hereto; (6) unless otherwise specified, all references herein to exhibits are references to exhibits in
the Plan Supplement; (7) unless otherwise specified, the words “herein,” “hereof,” and “hereto” refer to the Plan in
its entirety rather than to a particular portion of the Plan; (8) subject to the provisions of any contract, certificate of
incorporation, by-law, instrument, release, or other agreement or document entered into in connection with the Plan,
the rights and obligations arising pursuant to the Plan shall be governed by, and construed and enforced in
accordance with the applicable federal law, including the Bankruptcy Code and Bankruptcy Rules; (9) captions and
headings to Articles are inserted for convenience of reference only and are not intended to be a part of or to affect
the interpretation of the Plan; (10) unless otherwise specified herein, the rules of construction set forth in section 102
of the Bankruptcy Code shall apply; (11) any term used in capitalized form herein that is not otherwise defined but
that is used in the Bankruptcy Code or the Bankruptcy Rules shall have the meaning assigned to that term in the
Bankruptcy Code or the Bankruptcy Rules, as the case may be; (12) all references to docket numbers of documents
Filed in the Chapter 11 Cases are references to the docket numbers under the Bankruptcy Court’s CM/ECF system;
(13) all references to statutes, regulations, orders, rules of courts, and the like shall mean as amended from time to
time, and as applicable to the Chapter 11 Cases, unless otherwise stated; (14) the words “include” and “including,”
and variations thereof, shall not be deemed to be terms of limitation, and shall be deemed to be followed by the
words “without limitation”; (15) references to “Proofs of Claim,” “Holders of Claims,” “Disputed Claims,” and the
like shall include “Proofs of Interest,” “Holders of Interests,” “Disputed Interests,” and the like, as applicable;
(16) any immaterial effectuating provisions may be interpreted by the Wind-Down Debtors in such a manner that is
consistent with the overall purpose and intent of the Plan all without further notice to or action, order, or approval of


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the Bankruptcy Court or any other Entity, and such interpretation shall be conclusive; (17) all references herein to
consent, acceptance, or approval may be conveyed by counsel for the respective parties that have such consent,
acceptance, or approval rights, including by electronic mail; and (18) references to “shareholders,” “directors,”
and/or “officers” shall also include “members” and/or “managers,” as applicable, as such terms are defined under
the applicable state limited liability company laws.

C.       Computation of Time.

         Unless otherwise specifically stated herein, the provisions of Bankruptcy Rule 9006(a) shall apply in
computing any period of time prescribed or allowed herein. If the date on which a transaction may occur pursuant to
the Plan shall occur on a day that is not a Business Day, then such transaction shall instead occur on the next
succeeding Business Day. Any action to be taken on the Effective Date may be taken on or as soon as reasonably
practicable after the Effective Date.

D.       Governing Law.

         Unless a rule of law or procedure is supplied by federal law (including the Bankruptcy Code and Bankruptcy
Rules) or unless otherwise specifically stated, the laws of the State of New York, without giving effect to the
principles of conflict of laws (other than section 5-1401 and section 5-1402 of the New York General Obligations
Law), shall govern the rights, obligations, construction, and implementation of the Plan, any agreements, documents,
instruments, or contracts executed or entered into in connection with the Plan (except as otherwise set forth in those
agreements, in which case the governing law of such agreement shall control), and corporate governance matters;
provided that governance matters relating to the Debtors or the Wind-Down Debtors, as applicable, not incorporated
or formed under New York law shall be governed by the laws of the state of incorporation or formation of the
relevant Debtor or the Wind-Down Debtor, as applicable.

E.       Reference to Monetary Figures.

         All references in the Plan to monetary figures shall refer to currency of the United States of America,
unless otherwise expressly provided herein.

F.       Reference to the Debtors or the Wind-Down Debtors.

         Except as otherwise specifically provided in the Plan to the contrary, references in the Plan to the Debtors
or Wind-Down Debtors shall mean the Debtors and the Wind-Down Debtors, as applicable, to the extent the
context requires.

G.       Controlling Document.

         In the event of an inconsistency between the Plan and the Disclosure Statement, the terms of the Plan shall
control in all respects. In the event of an inconsistency between the Plan and the Plan Supplement, the terms of the
relevant provision in the Plan Supplement shall control (unless stated otherwise in such Plan Supplement document
or in the Confirmation Order). In the event of an inconsistency between the Confirmation Order and the Plan,
including the Plan Supplement, the Confirmation Order shall control; provided that, solely with respect to Plan
Distributions to the extent there is any conflict between the Plan and the Confirmation Order, on the one hand, and
any Sale Order, on the other hand, the Confirmation Order shall govern.

H.       Consent Rights.

          Notwithstanding anything herein to the contrary, any and all consultation, information, notice, and consent
rights of the parties to the Restructuring Support Agreement, as applicable, and as respectively set forth therein, with
respect to the form and substance of this Plan, all exhibits to this Plan, the Plan Supplement, and all other documents
governing the Restructuring Transactions, including any amendments, restatements, supplements, or other
modifications to such agreements and documents, and any consents, waivers, or other deviations under or from any




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such documents, shall be incorporated herein by this reference (including to the applicable definitions in Article I.A
hereof) and fully enforceable as if stated in full herein.

         Failure to reference the rights referred to in the immediately preceding paragraph as such rights relate to
any document referenced in the Restructuring Support Agreement, as applicable, shall not impair such rights and
obligations.

                                           ARTICLE II.
                               ADMINISTRATIVE CLAIMS, DIP CLAIMS,
                          PROFESSIONAL FEE CLAIMS, AND PRIORITY CLAIMS,

         In accordance with section 1123(a)(1) of the Bankruptcy Code, Administrative Claims, DIP Claims,
Professional Fee Claims, and Priority Tax Claims have not been classified and, thus, are excluded from the Classes
of Claims and Interests set forth in Article III hereof.

A.       Administrative Claims.

         Except as otherwise provided in this Article II.A and except with respect to Administrative Claims that are
Professional Fee Claims, DIP Claims, Credit Facility Adequate Protection Claims, or subject to
11 U.S.C. § 503(b)(1)(D), requests for payment of Allowed Administrative Claims must be Filed and served on the
Debtors or the Wind-Down Debtors no later than the Administrative Claims Bar Date. Holders of Administrative
Claims that are required to, but do not, File and serve a request for payment of such Administrative Claims
by the Administrative Claims Bar Date shall be forever barred, estopped, and enjoined from asserting such
Administrative Claims against the Debtors or their property, and such Administrative Claims shall be
deemed satisfied, settled, and released as of the Effective Date. Objections to such requests, if any, must be Filed
and served on the Plan Administrator and/or Wind-Down Debtors and the requesting party.
          Unless otherwise agreed to by the Holder of an Allowed Administrative Claim and the Debtors or the
Wind-Down Debtors, as applicable, each Holder of an Allowed Administrative Claim (other than Holders of
Professional Fee Claims and Claims for fees and expenses pursuant to section 1930 of chapter 123 of title 28 of the
United States Code) will receive in full and final satisfaction of its Administrative Claim an amount of Cash equal to
the amount of such Allowed Administrative Claim in accordance with the following: (1) if an Administrative Claim
is Allowed as of the Effective Date, on the Effective Date (or, if not then due, when such Allowed Administrative
Claim is due or as soon as reasonably practicable thereafter); (2) if such Administrative Claim is not Allowed as of
the Effective Date, no later than sixty (60) days after the date on which an order Allowing such Administrative
Claim becomes a Final Order, or as soon as reasonably practicable thereafter; (3) if such Allowed Administrative
Claim is based on liabilities incurred by the Debtors in the ordinary course of their business after the Petition Date in
accordance with the terms and conditions of the particular transaction giving rise to such Allowed Administrative
Claim without any further action by the Holder of such Allowed Administrative Claim, when such Allowed
Administrative Claim is due or as soon as reasonably practicable thereafter; or (4) at such time and upon such terms
as set forth in a Final Order of the Bankruptcy Court or as agreed with the Wind-Down Debtors.

B.       DIP Claims.

         As of the Effective Date, the DIP Claims shall be Allowed and deemed to be Allowed Claims in the full
amount outstanding under the DIP Documents without the need for the DIP Agent or DIP Lenders to file any Proof
of Claim or request for payment. Upon the satisfaction of the Allowed DIP Claims in accordance with the terms of
the Sale Order (which may be the Confirmation Order), the Asset Purchase Agreement(s), and the Plan, each as
applicable, or other such treatment as contemplated by this Article II.B of the Plan on the Effective Date, all Liens
and security interests granted to secure the DIP Claims shall be automatically terminated and of no further force and
effect without any further notice to or action, order, or approval of the Bankruptcy Court or any other Entity.

         Except to the extent that a Holder of an Allowed DIP Claim agrees to less favorable treatment, on the
Effective Date, in full and final satisfaction, settlement, release, and discharge of, and in exchange for such Allowed
DIP Claim, each Holder of an Allowed DIP Claim shall receive payment in full in Cash of its Allowed DIP Claim.




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C.       Professional Fee Claims.

         1.   Final Fee Applications and Payment of Professional Claims.

         All final requests for payment of Professional Fee Claims for services rendered and reimbursement of
expenses incurred prior to the Confirmation Date must be Filed no later than sixty days after the Effective Date. The
Bankruptcy Court shall determine the Allowed amounts of such Professional Fee Claims after notice and a hearing
in accordance with the procedures established by the Bankruptcy Court. The Wind-Down Debtors shall pay
Professional Fee Claims in Cash in the amount the Bankruptcy Court allows, including from the Professional Fee
Escrow Account. The Wind-Down Debtors will establish the Professional Fee Escrow Account in trust for the
Professionals and fund such account with Cash equal to the Professional Fee Amount on the Effective Date. For the
avoidance of doubt, this paragraph shall be subject to the DIP Order and any budget set forth therein with respect to
Professional Fee Claims held by the Committee’s Professionals.

         2.   Professional Fee Escrow Account.

         On the Effective Date, the Wind-Down Debtors shall establish and fund the Professional Fee Escrow
Account with Cash equal to the Professional Fee Amount, which shall be funded by the Wind-Down Debtors using
Cash on hand. The Professional Fee Escrow Account shall be maintained in trust solely for the Professionals. Such
funds shall not be considered property of the Estates of the Debtors or the Wind-Down Debtors, as applicable. The
amount of Allowed Professional Fee Claims shall be paid in Cash to the Professionals by the Wind-Down Debtors
from the Professional Fee Escrow Account as soon as reasonably practicable after such Professional Fee Claims are
Allowed. When such Allowed Professional Fee Claims have been paid in full, any remaining amount held in the
Professional Fee Escrow Account shall promptly be paid to the Wind-Down Debtors without any further action or
order of the Bankruptcy Court. For the avoidance of doubt, this paragraph shall be subject to the DIP Order and any
budget set forth therein with respect to Professional Fee Claims held by the Committee’s Professionals.

         3.   Professional Fee Amount.

         Professionals shall reasonably estimate their unpaid Professional Fee Claims and other unpaid fees and
expenses incurred in rendering services to the Debtors before and as of the Effective Date, and shall deliver such
estimate to the Debtors no later than five (5) days before the anticipated Effective Date; provided that such estimate
shall not be deemed to limit the amount of the fees and expenses that are the subject of each Professional’s final
request for payment in the Chapter 11 Cases. If a Professional does not provide an estimate, the Debtors or the
Wind-Down Debtors may estimate the unpaid and unbilled fees and expenses of such Professional. For the
avoidance of doubt, this paragraph shall be subject to the DIP Order and any budget set forth therein with respect to
Professional Fee Claims held by the Committee’s Professionals.

         4.   Post-Confirmation Fees and Expenses.

          Except as otherwise specifically provided in the Plan, from and after the Confirmation Date, the Debtors
shall, in the ordinary course of business and without any further notice to or action, order, or approval of the
Bankruptcy Court, pay in Cash the reasonable and documented legal, professional, or other fees and expenses
related to implementation of the Plan and Consummation incurred by the Debtors. Upon the Confirmation Date, any
requirement that Professionals comply with sections 327 through 331, 363, and 1103 of the Bankruptcy Code in
seeking retention or compensation for services rendered after such date shall terminate, and the Debtors may employ
and pay any Professional in the ordinary course of business without any further notice to or action, order, or
approval of the Bankruptcy Court. For the avoidance of doubt, this paragraph shall be subject to the DIP Order and
any budget set forth therein with respect to Professional Fee Claims held by the Committee’s Professionals.

D.       Priority Tax Claims.

         Except to the extent that a Holder of an Allowed Priority Tax Claim agrees to a less favorable treatment, in
full and final satisfaction, settlement, release, and discharge of and in exchange for each Allowed Priority Tax




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Claim, each Holder of such Allowed Priority Tax Claim shall be treated in accordance with the terms set forth in
section 1129(a)(9)(C) of the Bankruptcy Code.

E.       Restructuring Expenses.

         On the Effective Date, the Debtors or the Wind-Down Debtors, as applicable, shall pay in full in Cash any
outstanding Restructuring Expenses without the requirement for the filing of retention applications, fee applications,
or any other applications in the Chapter 11 Cases and without any requirement for further notice or Bankruptcy
Court review or approval.

                                        ARTICLE III.
                   CLASSIFICATION AND TREATMENT OF CLAIMS AND INTERESTS

A.       Classification of Claims and Interests.

          Except for the Claims addressed in Article II hereof, all Claims and Interests are classified in the Classes
set forth below in accordance with sections 1122 and 1123(a)(1) of the Bankruptcy Code. A Claim or an Interest, or
any portion thereof, is classified in a particular Class only to the extent that any portion of such Claim or Interest fits
within the description of that Class and is classified in other Classes to the extent that any portion of the Claim or
Interest fits within the description of such other Classes. A Claim or an Interest also is classified in a particular
Class for the purpose of receiving distributions under the Plan only to the extent that such Claim or Interest is an
Allowed Claim or Interest in that Class and has not been paid, released, or otherwise satisfied prior to the Effective
Date.

          The Plan groups the Debtors together solely for the purpose of describing treatment under the Plan,
confirmation of the Plan and making distributions in accordance with the Plan in respect of Claims against and
Interests in the Debtors under the Plan. Such groupings shall not affect any Debtor’s status as a separate legal
Person, change the organizational structure of the Debtors’ business enterprise, constitute a change of control of any
Debtor for any purpose, cause a merger or consolidation of any legal Persons, or cause the transfer of any assets.
Except as otherwise provided by or permitted under the Plan, all Debtors shall continue to exist as separate legal
Persons after the Effective Date.

         The classification of Claims and Interests against each Debtor pursuant to the Plan is as set forth below.
The Plan shall apply as a separate Plan for each of the Debtors, and the classification of Claims and Interests set
forth herein shall apply separately to each of the Debtors. All of the potential Classes for the Debtors are set forth
herein.

         The classification of Claims and Interests against the Debtors pursuant to the Plan is as follows:

       Class          Claims and Interests                   Status                       Voting Rights
                                                                                        Not Entitled to Vote
     Class 1      Other Secured Claims                    Unimpaired
                                                                                       (Presumed to Accept)
                                                                                        Not Entitled to Vote
     Class 2      Other Priority Claims                   Unimpaired
                                                                                       (Presumed to Accept)
     Class 3      Credit Facility Claims                    Impaired                      Entitled to Vote
                                                                                        Not Entitled to Vote
     Class 4      General Unsecured Claims                  Impaired
                                                                                        (Deemed to Reject)
                                                                                        Not Entitled to Vote
     Class 5      Intercompany Claims               Unimpaired / Impaired             (Presumed to Accept or
                                                                                         Deemed to Reject)
                                                                                        Not Entitled to Vote
     Class 6      Intercompany Interests            Unimpaired / Impaired             (Presumed to Accept or
                                                                                         Deemed to Reject)




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       Class             Claims and Interests                Status                      Voting Rights
                                                                                       Not Entitled to Vote
     Class 7       Existing Parent Interests                Impaired
                                                                                       (Deemed to Reject)
                                                                                       Not Entitled to Vote
     Class 8       Section 510(b) Claims                    Impaired
                                                                                       (Deemed to Reject)

B.      Treatment of Claims and Interests.

         Each Holder of an Allowed Claim or Allowed Interest, as applicable, shall receive under the Plan the
treatment described below in full and final satisfaction, settlement, release, and discharge of and in exchange for
such Holder’s Allowed Claim or Allowed Interest, except to the extent different treatment is agreed to by the Wind-
Down Debtor and such Holder. Unless otherwise indicated, the Holder of an Allowed Claim or Allowed Interest, as
applicable, shall receive such treatment on the later of the Effective Date and the date such Claim or Interest
becomes an Allowed Claim or an Allowed Interest, as applicable, or as soon as reasonably practicable thereafter.

        1.     Class 1 – Other Secured Claims

                   (a)       Classification: Class 1 consists of all Other Secured Claims.

                   (b)       Treatment: Except to the extent that a Holder of an Allowed Other Secured Claims
                             agrees in writing to less favorable treatment, in exchange for the full and final
                             satisfaction, settlement, release, and discharge of its Other Secured Claim, each Holder of
                             an Allowed Other Secured Claim shall receive, at the option of the applicable Debtor or
                             Wind-Down Debtor: (i) payment in full in Cash; (ii) Reinstatement of such Claim; or
                             (iii) such other treatment rendering such Claim Unimpaired.

                   (c)       Voting: Class 1 is Unimpaired under the Plan. Holders of Other Secured Claims are
                             conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the
                             Bankruptcy Code. Therefore, Holders of Other Secured Claims are not entitled to vote to
                             accept or reject the Plan.

        2.     Class 2 – Other Priority Claims

                   (a)       Classification: Class 2 consists of all Other Priority Claims.

                   (b)       Treatment: Except to the extent that a Holder of an Allowed Other Priority Claim agrees
                             in writing to less favorable treatment, in exchange for the full and final satisfaction,
                             settlement, release, and discharge of its Other Priority Claim, each Holder of an
                             Allowed Other Priority Claim shall receive, at the option of the applicable Debtor or
                             Wind-Down Debtor: (i) payment in full in Cash; or (ii) such other treatment rendering
                             such Claim Unimpaired.

                   (c)       Voting: Class 2 is Unimpaired under the Plan. Holders of Other Priority Claims are
                             conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the
                             Bankruptcy Code. Therefore, Holders of Other Priority Claims are not entitled to vote to
                             accept or reject the Plan.




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3.   Class 3 – Credit Facility Claims

         (a)      Classification: Class 3 consists of all Credit Facility Claims.

         (b)      Allowance: As of the Effective Date, the Credit Facility Claims shall be Allowed Claims
                  in the full amount outstanding under the Credit Documents without the need for the
                  Credit Facility Agent or Credit Facility Lenders to file any Proof of Claim.

         (c)      Treatment: Except to the extent that a Holder of an Allowed Credit Facility Claim agrees
                  to less favorable treatment, on the Effective Date (or as soon as practicable thereafter
                  with respect to the distribution of Wind-Down Proceeds as set forth in this sentence), in
                  full and final satisfaction, settlement, release, and discharge of, and in exchange for such
                  Allowed Credit Facility Claim, each Holder of an Allowed Credit Facility Claim shall
                  receive its Pro Rata share of the Distributable Asset Sale Proceeds and the Wind-Down
                  Proceeds following payment in full in Cash of all Allowed Claims that are senior to
                  Credit Facility Claims in priority of payment under the Bankruptcy Code; provided,
                  however, that any portion of such Holder’s Allowed Credit Facility Claim that is not fully
                  satisfied pursuant to provisions (A) and (B) immediately above, shall still constitute an
                  Allowed Credit Facility Claim up to the value of any remaining Credit Facility Collateral;
                  provided, further, that any portion of such Holder’s Allowed Credit Facility Claim that
                  exceeds the value of such remaining Credit Facility Collateral (if any) shall constitute a
                  Credit Facility Deficiency Claim and receive the treatment specified in Article III.B.4(b)
                  of this Plan.

         (d)      Voting: Class 3 is Impaired under the Plan. Holders of Credit Facility Claims are
                  entitled to vote to accept or reject the Plan.

4.   Class 4 –General Unsecured Claims

         (a)      Classification: Class 4 consists of all General Unsecured Claims.

         (b)      Treatment: On the Effective Date, each General Unsecured Claim shall be discharged
                  and released, and each Holder of General Unsecured Claim shall not receive or retain any
                  distribution, property, or other value on account of such General Unsecured Claim.

         (c)      Voting: Class 4 is Impaired under the Plan and is deemed to have rejected the Plan
                  pursuant to section 1126(g) of the Bankruptcy Code. Holders of General Unsecured
                  Claims are not entitled to vote to accept or reject the Plan.




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5.   Class 5 – Intercompany Claims

         (a)      Classification: Class 5 consists of all Intercompany Claims.

         (b)      Treatment: Subject to the Restructuring Transactions Memorandum, each Allowed
                  Intercompany Claim shall be Reinstated, distributed, contributed, set off, settled,
                  cancelled and released, or otherwise addressed at the option of the Wind-Down Debtors;
                  provided that no distributions shall be made on account of any Intercompany Claims.

         (c)      Voting: Class 5 is conclusively deemed to have accepted the Plan pursuant to
                  section 1126(f) of the Bankruptcy Code or rejected the Plan pursuant to section 1126(g)
                  of the Bankruptcy Code. Holders of Intercompany Claims are not entitled to vote to
                  accept or reject the Plan.

6.   Class 6 – Intercompany Interests

         (a)      Classification: Class 6 consists of all Intercompany Interests.

         (b)      Treatment: Subject to the Restructuring Transactions Memorandum, each Intercompany
                  Interest shall be Reinstated, distributed, contributed, set off, settled, cancelled and
                  released, or otherwise addressed at the option of the Wind-Down Debtors.

         (c)      Voting: Class 6 is conclusively deemed to have accepted the Plan pursuant to
                  section 1126(f) of the Bankruptcy Code or rejected the Plan pursuant to section 1126(g)
                  of the Bankruptcy Code. Holders of Intercompany Interests are not entitled to vote to
                  accept or reject the Plan.

7.   Class 7 – Existing Parent Interests

         (a)      Classification: Class 7 consists of all Existing Parent Interests.

         (b)      Treatment: On the Effective Date, and without the need for any further corporate or
                  limited liability company action or approval of any board of directors, board of managers,
                  members, shareholders, or officers of any Debtor or Wind-Down Debtor, as applicable,
                  all Existing Parent Interests shall be cancelled, released, and extinguished without any
                  distribution, and will be of no further force or effect, and each Holder of an Existing
                  Parent Interest shall not receive or retain any distribution, property, or other value on
                  account of such Existing Parent Interest.

         (c)      Voting: Class 7 is Impaired under the Plan and is deemed to have rejected the Plan
                  pursuant to section 1126(g) of the Bankruptcy Code. Holders of Existing Parent Interests
                  are not entitled to vote to accept or reject the Plan.

8.   Class 8 – Section 510(b) Claims

         (a)      Classification: Class 8 consists of all Section 510(b) Claims.

         (b)      Treatment: On the Effective Date, all Section 510(b) Claims shall be discharged and
                  released, and each Holder of a Section 510(b) Claim shall not receive or retain any
                  distribution, property, or other value on account of its Section 510(b) Claim.

         (c)      Voting: Class 8 is Impaired under the Plan and is deemed to have rejected the Plan
                  pursuant to section 1126(g) of the Bankruptcy Code. Holders of Section 510(b) Claims
                  are not entitled to vote to accept or reject the Plan.




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C.       Special Provision Governing Unimpaired Claims.

          Except as otherwise provided in the Plan, nothing herein shall affect the Debtors’ or the Wind-Down
Debtors’ rights regarding any Unimpaired Claim, including, all rights regarding legal and equitable defenses to or
setoffs or recoupments against any such Unimpaired Claim. Unless otherwise Allowed, Claims that are Unimpaired
shall remain Disputed Claims under the Plan.

D.       Elimination of Vacant Classes.

         Any Class of Claims or Interests that does not have a Holder of an Allowed Claim or Allowed Interest or a
Claim or Interest temporarily Allowed by the Bankruptcy Court in an amount greater than zero as of the date of the
Confirmation Hearing shall be deemed eliminated from the Plan for purposes of voting to accept or reject the Plan
and for purposes of determining acceptance or rejection of the Plan by such Class pursuant to section 1129(a)(8) of
the Bankruptcy Code.

E.       Voting Classes, Presumed Acceptance by Non-Voting Classes.

         If a Class contains Claims or Interests eligible to vote and no Holders of Claims or Interests eligible to vote
in such Class vote to accept or reject the Plan, the Holders of such Claims or Interests in such Class shall be deemed
to have accepted the Plan.

F.       Intercompany Interests.

         To the extent Reinstated under the Plan, distributions on account of Intercompany Interests are not being
received by Holders of such Intercompany Interests on account of their Intercompany Interests but for the purposes
of administrative convenience, and in exchange for the Debtors’ and Wind-Down Debtors’ agreement under the
Plan to make certain distributions to the Holders of Allowed Claims.

G.       Confirmation Pursuant to Sections 1129(a)(10) and 1129(b) of the Bankruptcy Code.

         Section 1129(a)(10) of the Bankruptcy Code shall be satisfied for purposes of Confirmation by acceptance
of the Plan by one or more Classes of Impaired Claims. The Debtors shall seek Confirmation of the Plan pursuant to
section 1129(b) of the Bankruptcy Code with respect to any rejecting Class of Claims or Interests. The Debtors
reserve the right to modify the Plan in accordance with Article XI hereof to the extent, if any, that Confirmation
pursuant to section 1129(b) of the Bankruptcy Code requires modification, including by modifying the treatment
applicable to a Class of Claims or Interests to render such Class of Claims or Interests Unimpaired to the extent
permitted by the Bankruptcy Code and the Bankruptcy Rules.

H.       Controversy Concerning Impairment.

        If a controversy arises as to whether any Claims or Interests, or any Class of Claims or Interests, are
Impaired, the Bankruptcy Court shall, after notice and a hearing, determine such controversy on or before the
Confirmation Date.

I.       Subordinated Claims.

          The allowance, classification, and treatment of all Allowed Claims and Allowed Interests and the
respective distributions and treatments under the Plan take into account and conform to the relative priority and
rights of the Claims and Interests in each Class in connection with any contractual, legal, and equitable
subordination rights relating thereto, whether arising under general principles of equitable subordination,
section 510(b) of the Bankruptcy Code, or otherwise. Any such contractual, legal, or equitable subordination rights
shall be settled, compromised, and released pursuant to the Plan.




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                                            ARTICLE IV.
                               MEANS FOR IMPLEMENTATION OF THE PLAN

A.       General Settlement of Claims and Interests.

         Unless otherwise set forth in the Plan, pursuant to section 1123 of the Bankruptcy Code and
Bankruptcy Rule 9019, and in consideration for the classification, distributions, releases, and other benefits provided
under the Plan, upon the Effective Date, the provisions of the Plan shall constitute a good-faith compromise and
settlement of all Claims, Interests, Causes of Action, and controversies released, settled, compromised, discharged,
or otherwise resolved pursuant to the Plan.

         The Plan shall be deemed a motion to approve the good faith compromise and settlement of all such
Claims, Interests, Causes of Action and controversies pursuant to Bankruptcy Rule 9019, and the entry of the
Confirmation Order shall constitute the Bankruptcy Court’s approval of such compromise and settlement under
section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019, as well as a finding by the Bankruptcy Court that
such settlement and compromise is fair, equitable, reasonable and in the best interests of the Debtors and their
Estates. Subject to Article VI hereof, all distributions made to Holders of Allowed Claims and Allowed Interests (as
applicable) in any Class are intended to be and shall be final.

B.       Asset Sale(s).

         1.   Asset Sale(s)

          Continuing after the Petition Date, the Debtors will conduct a marketing process and Auction to solicit bids
for Asset Sale(s), in accordance with the terms and conditions of the Bidding Procedures. The Debtors will seek to
elicit Asset Sale offers, if any, pursuant to the process set forth in the Bidding Procedures. If the Debtors are able to
secure a winning bid in accordance with the Bidding Procedures, the Holders of certain Claims will receive the
Distributable Asset Sale Proceeds as set forth in Articles II and III of the Plan and the Asset Sale(s) will be
consummated in accordance with the terms to be set forth in the Sale Order, Confirmation Order, and Plan
Supplement, as applicable. At any point, the Debtors may terminate pursuit of the Asset Sale(s) in accordance with
the terms of the Bidding Procedures.

          In the event that the Debtors determine to effectuate any Asset Sale(s), on or after the Confirmation Date,
the Sale Order or Confirmation Order, as applicable, shall be deemed to authorize, among other things, all actions as
may be necessary or appropriate to consummate and effect such Asset Sale(s), including, among other things,
transferring any purchased assets and interests to be transferred to and vested in any Purchaser free and clear of all
Liens, Claims, charges or other encumbrances pursuant to the terms of any purchase agreement, approve the Asset
Purchase Agreement(s), and authorize the Debtors or the Wind-Down Debtors, as applicable, to undertake the
transactions contemplated by the Asset Purchase Agreement(s), including any transaction described in, approved by,
contemplated by, or necessary to effectuate the Plan, including the Asset Sale(s), including, for the avoidance of
doubt, any and all actions required to be taken under applicable nonbankruptcy law.

         2.   Sources of Consideration for Plan Distributions

         The Debtors shall fund distributions under the Plan pursuant to the Asset Sale(s) with, as
applicable: (a) Distributable Asset Sale Proceeds; (b) Cash on hand; (c) Cash or non-Cash consideration received by
the Debtors in any consummated Asset Sale(s); and (d) the Wind-Down Proceeds.

         3.   Management Incentive Plan

         On or after the Effective Date, a Governing Body may adopt and implement a Management Incentive Plan
for certain of the Debtors’ directors, officers, and employees. The terms and conditions of any Management
Incentive Plan (including any related agreements, policies, programs, other arrangements, and Management
Incentive Plan participants) shall be set forth in the Management Incentive Plan Term Sheet, if any.




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         4.   Vesting of Assets in the Wind-Down Debtors

          Except as otherwise provided in the Plan, the Confirmation Order, the Sale Order, the Asset Purchase
Agreement(s), or any agreement, instrument, or other document incorporated herein or therein, or any agreement,
instrument, or other document incorporated in the Plan or the Plan Supplement, on the Effective Date, but after
consummation of the Asset Sale(s), pursuant to sections 1141(b) and (c) of the Bankruptcy Code, the assets of the
Debtors shall vest in the Wind-Down Debtors for the purpose of winding down the Estates, free and clear of all
Liens, Claims, charges, or other encumbrances; provided that, after funding the Professional Fee Escrow Account,
the collateral, or proceeds of sales of such collateral, of the Wind-Down Debtors securing the DIP Claims and Credit
Facility Claims shall remain subject to the liens and claims of the DIP Lenders and the Credit Facility Lenders, as
applicable, to the same extent and in the same priority as such liens and claims were enforceable against the Debtors
and the Debtors’ assets, until such DIP Claims and Credit Facility Claims, are satisfied in accordance with the Plan.
On and after the Effective Date, except as otherwise provided for in the Plan, the Confirmation Order, the Sale
Order, the DIP Orders, or the Asset Purchase Agreement(s), the Debtors and the Wind-Down Debtors may operate
their business and use, acquire, or dispose of property solely in accordance with the Wind-Down Budget, and
compromise or settle any Claims, Interests, or Causes of Action.

         5.   Wind-Down Debtors

          On and after the Effective Date, the Wind-Down Debtors shall continue in existence for purposes of
(a) winding down the Debtors’ business and affairs as expeditiously as reasonably possible in accordance with the
Wind-Down Budget, (b) resolving Disputed Claims, (c) making distributions on account of Allowed Claims as
provided hereunder, (d) funding distributions in accordance with the Wind-Down Budget, (e) enforcing and
prosecuting claims, interests, rights, and privileges under the Causes of Action on the Schedule of Retained Causes
of Action in an efficacious manner and only to the extent the benefits of such enforcement or prosecution are
reasonably believed to outweigh the costs associated therewith, (f) filing appropriate tax returns and regulatory
notices, (g) complying with its continuing obligations under the Plan, the Confirmation Order, the Asset Purchase
Agreement(s), if any, and the DIP Orders (as applicable), and (h) administering the Plan in an efficacious manner.

         The Wind-Down Debtors shall be deemed to be substituted as the party-in-lieu of the Debtors in all
matters, including (a) motions, contested matters, and adversary proceedings pending in the Bankruptcy Court,
(b) the DIP Orders (as applicable) and (c) all matters pending in any courts, tribunals, forums, or administrative
proceedings outside of the Bankruptcy Court, in each case without the need or requirement for the Plan
Administrator to file motions or substitutions of parties or counsel in each such matter.

         6.   Plan Administrator

         On and after the Effective Date, the Plan Administrator shall act for the Wind-Down Debtors in the same
fiduciary capacity as applicable to a board of managers, directors, officers, or other Governing Body, subject to the
provisions hereof (and all certificates of formation, membership agreements, and related documents are deemed
amended by the Plan to permit and authorize the same). On the Effective Date, the authority, power, and
incumbency of the persons acting as managers, officers, directors, sale director, or Governing Body of the Wind-
Down Debtors shall be deemed to have resigned, solely in their capacities as such, and the Plan Administrator shall
be appointed as the sole manager, sole director, and sole officer of the Wind-Down Debtors, and shall succeed to the
powers of the Wind-Down Debtors’ managers, directors, officers, and other Governing Bodies without any further
action required on the part of any such Debtor, the equity holders of the Debtors, the officers, directors, managers, or
Governing Body, as applicable, of the Debtors, or the members of any Debtor. From and after the Effective Date,
the Plan Administrator shall be the sole representative of, and shall act for, the Wind-Down Debtors. The foregoing
shall not limit the authority of the Wind-Down Debtors or the Plan Administrator, as applicable, to continue the
employment of any former manager or officer, in any capacity, including pursuant to any transition services
agreement entered into on or after the Effective Date by and between the Wind-Down Debtors and the Purchaser(s).
The Plan Administrator shall use best efforts to operate in a manner consistent with the Wind-Down Budget.




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         7.   Dissolution of the Debtors

          Subject in all respects to the terms of this Plan, the Debtors shall be dissolved as soon as practicable on or
after the Effective Date, but in no event later than the closing of the Chapter 11 Cases.

         As of the Effective Date, the Plan Administrator shall act as the sole officer, director, manager, and
Governing Body, as applicable, of the Wind-Down Debtors with respect to their affairs. Subject in all respects to
the terms of this Plan, the Plan Administrator shall have the power and authority to take any action necessary to
wind down and dissolve any of the Debtors, and shall: (a) file a certificate of dissolution for any of the Debtors,
together with all other necessary corporate and company documents, to effect the dissolution of each Debtor under
the applicable laws of its state of formation; and (b) complete and file all final or otherwise required federal, state,
and local tax returns and shall pay taxes required to be paid for any of the Debtors, and pursuant to section 505(b) of
the Bankruptcy Code, request an expedited determination of any unpaid tax liability of any of the Debtors or their
Estates for any tax incurred during the administration of such Debtor’s Chapter 11 Case, as determined under
applicable tax laws. The filing by the Plan Administrator of any of the Debtors’ certificate of dissolution shall be
authorized and approved in all respects without further action under applicable law, regulation, order, or rule.

         8.   Preservation of Causes of Action.

         In accordance with section 1123(b) of the Bankruptcy Code, but subject to Article IX hereof, any
applicable Final Order, and any applicable Asset Purchase Agreement, each Wind-Down Debtor shall retain and
may enforce, as reasonably directed by the Credit Facility Agent, all rights to commence and pursue, as appropriate,
any and all Causes of Action of the Debtors, whether arising before or after the Petition Date, including any actions
specifically enumerated in the Schedule of Retained Causes of Action, and the Wind-Down Debtors’ rights to
commence, prosecute, or settle such Causes of Action shall be preserved notwithstanding the occurrence of the
Effective Date, other than the Causes of Action released by the Debtors pursuant to the releases and exculpations
contained in the Plan, including in Article IX hereof, pursuant to a Final Order, or as assigned and transferred
pursuant to any applicable Asset Purchase Agreement, which, in each case, shall be deemed released and waived by
the Debtors and the Wind-Down Debtors as of the Effective Date.

          The Wind-Down Debtors may pursue such retained Causes of Action, as reasonably directed by the Plan
Administrator and the Credit Facility Agent. No Entity (other than the Released Parties) may rely on the
absence of a specific reference in the Plan, the Plan Supplement, or the Disclosure Statement to any Causes of
Action against it as any indication that the Debtors or the Wind-Down Debtors, as applicable, will not pursue
any and all available Causes of Action of the Debtors against it. Except as specifically released under the
Plan or pursuant to a Final Order or as assigned or transferred pursuant to any applicable Asset Purchase
Agreement, the Debtors and the Wind-Down Debtors expressly reserve all rights to prosecute any and all
Causes of Action against any Entity, except as otherwise expressly provided in the Plan, including Article IX
hereof, pursuant to a Final Order, or as assigned and transferred under any applicable Asset Purchase
Agreement. Unless otherwise agreed upon in writing by the parties to the applicable Causes of Action, all
objections to the Schedule of Retained Causes of Action must be Filed with the Bankruptcy Court on or
before thirty days after the Effective Date. Any such objection that is not timely Filed shall be disallowed and
forever barred, estopped, and enjoined from assertion against any Wind-Down Debtor, without the need for
any objection or responsive pleading by the Wind-Down Debtors or any other party in interest or any further
notice to or action, order, or approval of the Bankruptcy Court. The Wind-Down Debtors may settle any such
objection, subject to the prior consent of the Credit Facility Agent, without any further notice to or action, order, or
approval of the Bankruptcy Court. If there is any dispute regarding the inclusion of any Causes of Action on the
Schedule of Retained Causes of Action that remains unresolved by the Debtors or Wind-Down Debtors, as
applicable, and the objection party for thirty days, such objection shall be resolved by the Bankruptcy Court. Unless
any Causes of Action of the Debtors against an Entity are expressly waived, transferred, relinquished, exculpated,
released, compromised, or settled in the Plan or a Final Order, or any applicable Asset Purchase Agreement(s), the
Wind-Down Debtors expressly reserve all Causes of Action, for later adjudication, and, therefore, no preclusion
doctrine, including the doctrines of res judicata, collateral estoppel, issue preclusion, claim preclusion, estoppel
(judicial, equitable, or otherwise), or laches, shall apply to such Causes of Action upon, after, or as a consequence of
the Confirmation or Consummation.



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         The Wind-Down Debtors reserve and shall retain such Causes of Action of the Debtors notwithstanding the
rejection or repudiation of any Executory Contract or Unexpired Lease during the Chapter 11 Cases or pursuant to
the Plan. In accordance with section 1123(b)(3) of the Bankruptcy Code, and except as expressly waived,
relinquished, exculpated, released, compromised, or settled in the Plan or pursuant to a Final Order, any Causes of
Action that a Debtor may hold against any Entity shall vest in the Wind-Down Debtors, except as otherwise
expressly provided in the Plan, including Article IX hereof. The applicable Wind-Down Debtors, through their
authorized agents or representatives, shall retain and may exclusively enforce any and all such Causes of Action. As
reasonably directed by the Credit Facility Agent, the Wind-Down Debtors shall have the right and authority, in
consultation with the Credit Facility Agent, to determine and to initiate, file, prosecute, enforce, abandon, settle,
compromise, release, withdraw, or litigate to judgment any such Causes of Action and to decline to do any of the
foregoing without the consent or approval of any third party or further notice to or action, order, or approval of the
Bankruptcy Court.

         9.   Effectuating Documents; Further Transactions.

         Prior to the Effective Date, the Debtors are, and on and after the Effective Date, the Wind-Down Debtors,
the Plan Administrator, and the respective officers, members and managers (as applicable) thereof are authorized to
and may issue, execute, deliver, file, or record to the extent not inconsistent with any provision of this Plan such
contracts, securities, instruments, releases, and other agreements or documents and take such actions as may be
necessary or appropriate to effectuate, implement, and further evidence the terms and conditions of the Plan and the
Restructuring Support Agreement, without the need for any approvals, authorizations, actions, notices, or consents,
except for those expressly required pursuant to the Plan.

C.       Tax Matters.

          The terms of the Plan, the Asset Sale(s), and the Restructuring Transactions shall be structured to minimize,
to the extent practicable, the aggregate tax impact of the Restructuring Transactions on the Debtors and the
Wind-Down Debtors, taking into account both the cash tax impact of the Restructuring Transactions on the Debtors
in the tax year of the Restructuring Transactions and Asset Sale(s) and the tax liability of the Wind-Down Debtors in
subsequent tax years.

D.       Cancellation of Existing Securities and Agreements.

         On the Effective Date, except for the purpose of evidencing a right to a distribution under the Plan and
except as otherwise provided in this Plan and the Confirmation Order, all notes, instruments, certificates, credit
agreements, indentures, Securities and other documents evidencing or governing Claims or Interests (other than
those Claims or Interests Reinstated under the Plan) shall be cancelled and the rights of the Holders thereof and
obligations of the Debtors thereunder or in any way related thereto shall be deemed satisfied in full, cancelled,
discharged, and of no force or effect. Holders of or parties to such cancelled instruments, Securities, and other
documentation will have no rights arising from or relating to such instruments, Securities, and other documentation,
or the cancellation thereof, except the rights, distributions, and treatment provided for pursuant to this Plan or the
Confirmation Order. Nothing contained herein shall be deemed to cancel, terminate, release or discharge the
obligations of the Debtors or any of their counterparts under any Executory Contract or Unexpired Lease to the
extent such Executory Contract or Unexpired Lease has been assumed by the Debtors or assumed and assigned to a
Purchaser, pursuant to a Final Order or hereunder.

E.       Corporate Action.

          On the Effective Date, all actions contemplated under the Plan shall be deemed authorized and approved in all
respects, including implementation of the Restructuring Transactions and all other acts or actions contemplated or
reasonably necessary or appropriate to promptly consummate the Restructuring Transactions contemplated by the Plan
(whether to occur before, on, or after the Effective Date). All matters provided for in the Plan involving the corporate
or organizational structure of the Debtors or the Wind-Down Debtors, and any corporate, partnership, limited liability
company, or other governance action required by the Debtors or the Wind-Down Debtors, as applicable, in connection
with the Plan shall be deemed to have timely occurred and shall be in effect and shall be authorized and approved in all
respects, without any requirement of further action by the equityholders, members, directors, or officers of the Debtors


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or the Wind-Down Debtors, as applicable. On or prior to the Effective Date, as applicable, the appropriate officers of
the Debtors or the Wind-Down Debtors, as applicable, shall be authorized and, as applicable, directed, to issue,
execute, and deliver the agreements, documents, and instruments contemplated under the Plan (or necessary or
desirable to effect the transactions contemplated under the Plan) in the name of and on behalf of the Wind-Down
Debtors. The authorizations and approvals contemplated by this Article IV.E shall be effective notwithstanding any
requirements under nonbankruptcy Law.

F.       Indemnification Obligations.

          Consistent with applicable law, all indemnification provisions in place as of the Effective Date (whether in
the by-laws, certificates of incorporation or formation, limited liability company agreements, other organizational
documents, board resolutions, indemnification agreements, employment contracts, or otherwise) for current and
former members of any Governing Body, directors, officers, managers, employees, attorneys, accountants,
investment bankers, and other professionals of the Debtors, as applicable, shall (1) not be discharged, impaired, or
otherwise affected in any way, including by the Plan, the Plan Supplement, or the Confirmation Order, (2) remain
intact, in full force and effect, and irrevocable, (3) not be limited, reduced or terminated after the Effective Date, and
(4) survive the effectiveness of the Plan on terms no less favorable to such current and former directors, officers,
managers, employees, attorneys, accountants, investment bankers, and other professionals of the Debtors than the
indemnification provisions in place prior to the Effective Date irrespective of whether such indemnification
obligation is owed for an act or event occurring before, on or after the Petition Date. All such obligations shall be
deemed and treated as executory contracts to be assumed by the Debtors under the Plan and shall continue as
obligations of the Wind-Down Debtors. Any Claim based on the Debtors’ obligations under the Plan shall not be a
Disputed Claim or subject to any objection, in either case, for any reason, including by reason of section
502(e)(1)(B) of the Bankruptcy Code.

G.       Section 1146 Exemption.

          To the fullest extent permitted by section 1146(a) of the Bankruptcy Code and applicable law, any transfers
(whether from a Debtor to a Wind-Down Debtor or to any other Person) of property under the Plan or pursuant
to: (1) the issuance, distribution, transfer, or exchange of any debt, equity Security, or other interest in the Debtors
or the Wind-Down Debtors; (2) the Restructuring Transactions; (3) the creation, modification, consolidation,
termination, refinancing, and/or recording of any mortgage, deed of trust, or other security interest, or the securing
of additional indebtedness by such or other means; (4) the making, assignment, or recording of any lease or
sublease; or (5) the making, delivery, or recording of any deed or other instrument of transfer under, in furtherance
of, or in connection with, the Plan, including any deeds, bills of sale, assignments, or other instrument of transfer
executed in connection with any transaction arising out of, contemplated by, or in any way related to the Plan
(including in connection with any Asset Sale), shall not be subject to any document recording tax, stamp tax,
conveyance fee, intangibles or similar tax, mortgage tax, real estate transfer tax, personal property transfer tax, sales
or use tax, mortgage recording tax, Uniform Commercial Code filing or recording fee, regulatory filing or recording
fee, or other similar tax or governmental assessment, and upon entry of the Confirmation Order, the appropriate state
or local governmental officials or agents shall forego the collection of any such tax or governmental assessment and
accept for filing and recordation any of the foregoing instruments or other documents without the payment of any
such tax, recordation fee, or governmental assessment. All filing or recording officers (or any other Person with
authority over any of the foregoing), wherever located and by whomever appointed, shall comply with the
requirements of section 1146 of the Bankruptcy Code, shall forego the collection of any such tax or governmental
assessment, and shall accept for filing and recordation any of the foregoing instruments or other documents without
the payment of any such tax or governmental assessment.

H.       Director and Officer Liability Insurance.

         After the Effective Date, none of the Wind-Down Debtors shall terminate or otherwise reduce the coverage
under any D&O Liability Insurance Policies (including any “tail policy”) in effect on or after the Petition Date, with
respect to conduct or events occurring prior to the Effective Date, and all directors and officers of the Debtors who
served in such capacity at any time prior to the Effective Date shall be entitled to the full benefits of any such policy
for the full term of such policy, to the extent set forth therein, regardless of whether such directors and officers
remain in such positions after the Effective Date.


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                                     ARTICLE V.
                TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES

A.       Assumption and Rejection of Executory Contracts and Unexpired Leases.

          On the Effective Date, except as otherwise provided herein all Executory Contracts or Unexpired Leases
will be deemed rejected by the applicable Wind-Down Debtor in accordance with the provisions and requirements of
sections 365 and 1123 of the Bankruptcy Code, other than those that: (1) are identified on the Assumed Executory
Contracts and Unexpired Leases Schedules; (2) have been previously assumed or rejected by the Debtors pursuant to
a Final Order; (3) is the subject of a motion to assume filed on or before the Confirmation Date; (4) are to be
assumed by the Debtors or assumed by the Debtors and assigned to another third party, as applicable, in connection
with any sale transaction pursuant to a Sale Order that is not the Confirmation Order; (5) are a contract, instrument,
release, indenture, or other agreement or document entered into in connection with the Plan; or (6) is a D&O
Liability Insurance Policy.

         Entry of the Confirmation Order shall constitute an order of the Bankruptcy Court approving the
assumptions, assumptions and assignments, or rejections of the Executory Contracts or Unexpired Leases as set
forth in the Plan or the Assumed Executory Contract and Unexpired Leases Schedule, as applicable, pursuant to
sections 365(a) and 1123 of the Bankruptcy Code. Except as otherwise specifically set forth herein, assumptions or
rejections of Executory Contracts and Unexpired Leases pursuant to the Plan are effective as of the Effective Date.
Each Executory Contract or Unexpired Lease assumed pursuant to the Plan or by Bankruptcy Court order but not
assigned to a third party before the Effective Date shall re-vest in and be fully enforceable by the applicable
contracting Wind-Down Debtor in accordance with its terms, except as such terms may have been modified by the
provisions of the Plan or any order of the Bankruptcy Court authorizing and providing for its assumption. Any
motions to assume Executory Contracts or Unexpired Leases pending on the Effective Date shall be subject to
approval by a Final Order on or after the Effective Date but may be withdrawn, settled, or otherwise prosecuted by
the Wind-Down Debtors.

         To the maximum extent permitted by law, to the extent any provision in any Executory Contract or
Unexpired Lease assumed or assumed and assigned pursuant to the Plan conditions, restricts or prevents, or purports
to condition, restrict or prevent, or is breached or deemed breached by, the assumption or assumption and
assignment of such Executory Contract or Unexpired Lease or allows the counterparty thereto to terminate,
recapture, impose any penalty, declare a default, condition a renewal or extension, or modify any term or condition
upon any assignment of such Executory Contract or Unexpired Lease (including any “change of control” provision),
then such provision shall be deemed modified such that the transactions contemplated by the Plan shall not entitle
the non-Debtor party thereto to terminate such Executory Contract or Unexpired Lease or to exercise any other
default-related rights with respect thereto. Notwithstanding anything to the contrary in the Plan, the Debtors and the
Wind-Down Debtors reserve the right to alter, amend, modify, or supplement the Assumed Executory Contracts and
Unexpired Leases Schedules at any time up to forty-five days after the Effective Date.

B.       Claims Based on Rejection of Executory Contracts or Unexpired Leases.

          Unless otherwise provided by a Final Order of the Bankruptcy Court, all Proofs of Claim with respect to
Claims arising from the rejection of Executory Contracts or Unexpired Leases, pursuant to the Plan or the
Confirmation Order, if any, must be Filed with the Bankruptcy Court within thirty days after the later of (1) the date
of entry of an order of the Bankruptcy Court (including the Confirmation Order) approving such rejection, (2) the
effective date of such rejection, and (3) the Effective Date. Any Claims arising from the rejection of an
Executory Contract or Unexpired Lease not Filed with the Bankruptcy Court within such time will be
automatically disallowed, forever barred from assertion, and shall not be enforceable against the Debtors or
the Wind-Down Debtors, the Estates, or their property without the need for any objection by the Wind-Down
Debtors or further notice to, or action, order, or approval of the Bankruptcy Court or any other Entity, and
any Claim arising out of the rejection of the Executory Contract or Unexpired Lease shall be deemed fully
satisfied, released, and discharged, notwithstanding anything in the Proof of Claim to the contrary. All
Allowed Claims arising from the rejection of the Debtors’ Executory Contracts or Unexpired Leases shall be
classified as General Unsecured Claims and shall be treated in accordance with Article III.B.4 of the Plan and may



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be objected to in accordance with the provisions of Article VIII of the Plan and the applicable provisions of the
Bankruptcy Code and Bankruptcy Rules.

C.       Cure of Defaults for Assumed Executory Contracts and Unexpired Leases.

         No later than fourteen calendar days before the Voting Deadline, the Debtors shall serve notices of
proposed assumptions to the counterparties to the agreements listed on the Assumed Executory Contracts and
Unexpired Leases Schedules, which shall include a description of the procedures for resolving disputes related to the
proposed assumption of applicable Executory Contracts and Unexpired Leases. In the event that any Executory
Contract or Unexpired Lease is added to the Assumed Executory Contracts and Unexpired Leases Schedules after
the provision of notices of proposed assumptions described above, a notice of proposed assumption with respect to
such Executory Contract or Unexpired Lease will be sent promptly to the counterparty thereof.

          Unless otherwise agreed in writing by the parties to the applicable Executory Contract or Unexpired Lease,
any objection by a counterparty to an Executory Contract or Unexpired Lease to a proposed assumption or related
Cure amount must be Filed, served, and actually received by counsel to the Debtors no later than 14 days after Filing
of the Assumed Executory Contracts and Unexpired Leases Schedule and service of the Cure Notice; provided that
if any Executory Contract or Unexpired Lease is added to the Assumed Executory Contracts and Unexpired Leases
Schedule after the Filing of the initial Assumed Executory Contracts and Unexpired Leases Schedules, or an
Executory Contract or Unexpired Lease proposed to be assumed by the Debtors is proposed to be assigned to a third
party after the Filing of the initial Assumed Executory Contracts and Unexpired Leases Schedules, then the
Cure/Assumption Objection Deadline with respect to such Executory Contract or Unexpired Lease shall be the
earlier of (a) 14 days after service of the amended Assumed Executory Contracts and Unexpired Leases Schedules
with such modification and (b) the date of the scheduled Confirmation Hearing or Sale Hearing, as applicable. The
Debtors or the Wind-Down Debtors, as applicable, may reconcile and settle in the ordinary course of the Debtors’
business any dispute (following a timely filed objection) regarding any Cure or any other matter pertaining to
assumption without any further notice to or action, order, or approval of the Bankruptcy Court.

          Any counterparty to an Executory Contract or Unexpired Lease that fails to object timely to the proposed
assumption or Cure amount (including any request for an additional or different cure amount) will be deemed to
have assented to such assumption or Cure amount and any untimely request for an additional or different Cure
amount shall be disallowed and forever barred, estopped, and enjoined from assertion, and shall not be enforceable
against any Wind-Down Debtor, without the need for any objection by the Wind-Down Debtors or any other party in
interest or any further notice to or action, order, or approval of the Bankruptcy Court.

         The Debtors or the Wind-Down Debtors, as applicable, shall pay the Cure amounts, if any, on the Effective
Date or as soon as reasonably practicable thereafter or on such other terms as the parties to such Executory Contracts
or Unexpired Leases may agree; provided that if a dispute regarding assumption or Cure is unresolved as of the
Effective Date, then payment of the applicable Cure amount shall occur as soon as reasonably practicable after such
dispute is resolved. Any Cure shall be deemed fully satisfied, released, and discharged upon payment of the Cure.

         The assumption of any Executory Contract or Unexpired Lease pursuant to the Plan, in connection with any
Asset Sale or otherwise shall result in the full release and satisfaction of any nonmonetary defaults arising from or
triggered by the filing of these Chapter 11 Cases, including defaults of provisions restricting the change in control or
ownership interest composition or any bankruptcy-related defaults, arising at any time prior to the effective date of
assumption. Any and all Proofs of Claim based upon Executory Contracts or Unexpired Leases that have
been assumed in the Chapter 11 Cases, including pursuant to the Confirmation Order, shall be deemed
disallowed and expunged as of the later of (1) the date of entry of an order of the Bankruptcy Court
(including the Confirmation Order) approving such assumption, (2) the effective date of such assumption, or
(3) the Effective Date without the need for any objection thereto or any further notice to or action, order, or
approval of the Bankruptcy Court.

D.       Preexisting Obligations to the Debtors Under Executory Contracts and Unexpired Leases.

         Rejection of any Executory Contract or Unexpired Lease pursuant to the Plan, in connection with any Asset
Sale or otherwise shall not constitute a termination of preexisting obligations owed to the Debtors or Wind-Down


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Debtors, as applicable, under such Executory Contracts or Unexpired Leases. In particular, notwithstanding any
nonbankruptcy law to the contrary, the Wind-Down Debtors expressly reserve and do not waive any right to receive,
or any continuing obligation of a counterparty to provide, warranties or continued maintenance obligations with
respect to goods previously purchased by the Debtors pursuant to rejected Executory Contracts or Unexpired Leases.

E.       Insurance Policies.

          Each of the Debtors’ insurance policies and any agreements, documents, or instruments relating thereto,
shall be treated as Executory Contracts hereunder. Unless otherwise provided in the Plan, on the Effective Date, in
connection with the Asset Sale(s), the Debtors shall be deemed to have assumed or assumed and assigned to a
Purchaser, solely to the extent set forth in the Asset Purchase Agreement(s), and explicitly provided in the Assumed
Executory Contracts and Unexpired Leases Schedules, all insurance policies and any agreements, documents, and
instruments relating to coverage of all insured Claims; provided that any insurance policies that are not assumed and
assigned to a Purchaser shall be assumed by the Debtors for the sole purpose of resolving any Claims covered by
such insurance policies, resolving any Causes of Action retained in connection with such insurance policies, and
collecting any and all outstanding deposits, restricted cash, and letters of credit related thereto to the extent
reasonably necessary to implement the Wind-Down in accordance with the Plan.

          Nothing in this Plan, the Plan Supplement, the Disclosure Statement, the Confirmation Order, or any other
Final Order (including any other provision that purports to be preemptory or supervening), (1) alters, modifies, or
otherwise amends the terms and conditions of (or the coverage provided by) any of such insurance policies or
(2) alters or modifies the duty, if any, that the insurers or third party administrators have to pay claims covered by
such insurance policies and their right to seek payment or reimbursement from the Debtors (or a Purchaser, solely to
the extent assumed and assigned to a Purchaser under any Asset Purchase Agreement) or draw on any collateral or
security therefor. For the avoidance of doubt, insurers and third party administrators shall not need to nor be
required to file or serve a cure objection or a request, application, claim, Proof of Claim, or motion for payment and
shall not be subject to any claims bar date or similar deadline governing cure amounts or Claims.

F.       Modifications, Amendments, Supplements, Restatements, or Other Agreements.

         Unless otherwise provided in the Plan, each Executory Contract or Unexpired Lease that is assumed shall
include all modifications, amendments, supplements, restatements, or other agreements that in any manner affect
such Executory Contract or Unexpired Lease, and all Executory Contracts and Unexpired Leases related thereto, if
any, including all easements, licenses, permits, rights, privileges, immunities, options, rights of first refusal, and any
other interests, unless any of the foregoing agreements has been previously rejected or repudiated or is rejected or
repudiated under the Plan.

        Modifications, amendments, supplements, and restatements to prepetition Executory Contracts and
Unexpired Leases that have been executed by the Debtors during the Chapter 11 Cases shall not be deemed to alter
the prepetition nature of the Executory Contract or Unexpired Lease, or the validity, priority, or amount of any
Claims that may arise in connection therewith.

G.       Reservation of Rights.

          Nothing contained in the Plan or the Plan Supplement shall constitute an admission by the Debtors or any
other party that any contract or lease is in fact an Executory Contract or Unexpired Lease or that any Wind-Down
Debtor has any liability thereunder. If there is a dispute regarding whether a contract or lease is or was executory or
unexpired at the time of assumption or rejection, the Debtors or the Wind-Down Debtors, as applicable, shall have
forty-five days following entry of a Final Order resolving such dispute to alter their treatment of such contract
or lease.




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H.       Nonoccurrence of Effective Date.

         In the event that the Effective Date does not occur, the Bankruptcy Court shall retain jurisdiction with
respect to any request to extend the deadline for assuming or rejecting Unexpired Leases pursuant to
section 365(d)(4) of the Bankruptcy Code.

I.       Contracts and Leases Entered Into After the Petition Date.

         Contracts and leases entered into after the Petition Date by any Debtor, including any Executory Contracts
and Unexpired Leases assumed by such Debtor, will be performed by the applicable Debtor or Wind-Down Debtor
in the ordinary course of their business. Accordingly, such contracts and leases (including any assumed Executory
Contracts and Unexpired Leases) will survive and remain unaffected by entry of the Confirmation Order.

                                            ARTICLE VI.
                                PROVISIONS GOVERNING DISTRIBUTIONS

A.       Distributions on Account of Claims Allowed as of the Effective Date.

         Except as otherwise provided herein, in a Final Order, or as otherwise agreed to by the Debtors or the
Wind-Down Debtors, as the case may be, and the Holder of the applicable Allowed Claim on the first Distribution
Date, the Wind-Down Debtors shall make initial distributions under the Plan on account of Claims Allowed as of the
Effective Date, subject to the Wind-Down Debtors’ right to object to Claims; provided that (1) Allowed
Administrative Claims with respect to liabilities incurred by the Debtors in the ordinary course of business during
the Chapter 11 Cases or assumed by the Debtors prior to the Effective Date shall be paid or performed in the
ordinary course of business in accordance with the terms and conditions of any controlling agreements, course of
dealing, course of business, or industry practice, and (2) Allowed Priority Tax Claims shall be paid in accordance
with Article II.D of the Plan. To the extent any Allowed Priority Tax Claim is not due and owing on the Effective
Date, such Claim shall be paid in full in Cash in accordance with the terms of any agreement between the Debtors
and the Holder of such Claim or as may be due and payable under applicable non-bankruptcy law or in the ordinary
course of business.

B.       Distribution Agent.

         All distributions under the Plan shall be made by the Distribution Agent. The Distribution Agent shall not
be required to give any bond or surety or other security for the performance of its duties unless otherwise ordered by
the Bankruptcy Court. Additionally, in the event that the Distribution Agent is so otherwise ordered, all costs and
expenses of procuring any such bond or surety shall be borne by the Wind-Down Debtors.

C.       Rights and Powers of the Distribution Agent.

         1.   Powers of the Distribution Agent.

          The Distribution Agent shall be empowered to: (a) effect all actions and execute all agreements,
instruments, and other documents necessary to perform its duties under the Plan; (b) make all distributions
contemplated hereby; (c) employ professionals to represent it with respect to its responsibilities; and (d) exercise
such other powers as may be vested in the Distribution Agent by order of the Bankruptcy Court, pursuant to the
Plan, or as deemed by the Distribution Agent to be necessary and proper to implement the provisions hereof.

         2.   Expenses Incurred on or After the Effective Date.

         Except as otherwise ordered by the Bankruptcy Court, the amount of any reasonable fees and expenses
incurred by the Distribution Agent on or after the Effective Date (including taxes), and any reasonable compensation
and expense reimbursement claims (including reasonable attorney fees and expenses), made by the Distribution
Agent, in each case directly related to distributions under the Plan, shall be paid in Cash by the Wind-Down Debtors
in the ordinary course of business. In the event that the Wind-Down Debtors object to all or any portion of the



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amounts requested to be reimbursed in a Distribution Agent’s invoice, the Wind-Down Debtors and such
Distribution Agent shall endeavor, in good faith, to reach mutual agreement on the amount of the appropriate
payment of such disputed fees and/or expenses. In the event that the Wind-Down Debtors and a Distribution Agent
are unable to resolve any differences regarding disputed fees or expenses, either party shall be authorized to move to
have such dispute heard by the Bankruptcy Court.

D.       Delivery of Distributions and Undeliverable or Unclaimed Distributions.

         1.   Record Date for Distribution.

          On the Distribution Record Date, the Claims Register shall be closed and any party responsible for making
distributions shall instead be authorized and entitled to recognize only those record holders listed on the Claims
Register as of the close of business on the Distribution Record Date. If a Claim, other than one based on a publicly
traded Security, is transferred twenty or fewer days before the Distribution Record Date, the Distribution Agent shall
make distributions to the transferee only to the extent practical and, in any event, only if the relevant transfer form
contains an unconditional and explicit certification and waiver of any objection to the transfer by the transferor.

         2.   Delivery of Distributions in General.

          Except as otherwise provided herein, the Distribution Agent shall make distributions to Holders of Allowed
Claims and Allowed Interests (as applicable) as of the Distribution Record Date at the address for each such Holder
as indicated on the Debtors’ records as of the date of any such distribution; provided that the manner of such
distributions shall be determined at the discretion of the Wind-Down Debtors.

         3.   Minimum Distributions.

         Notwithstanding any other provision of the Plan, neither the Wind-Down Debtors nor the Distribution
Agent shall have any obligation to make distributions of Cash less than one hundred dollars ($100) in value, and
each such Claim to which this limitation applies shall be settled and enjoined pursuant to this Article IX of the Plan
and its Holder is forever barred pursuant to this Article IX of the Plan from ascertaining Claims against the Debtors,
the Wind-Down Debtors, or their property.

         4.   Undeliverable Distributions and Unclaimed Property.

          In the event that any distribution to any Holder of Allowed Claims or Allowed Interests (as applicable) is
returned as undeliverable, no further distribution to such Holder shall be made unless and until the Distribution
Agent is notified in writing of the then-current address of such Holder, at which time all currently-due, missed
distributions shall be made to such Holder as soon as reasonably practicable thereafter without interest; provided
that such distributions shall be deemed unclaimed property under section 347(b) of the Bankruptcy Code at the
expiration of six months from the Effective Date. After such date, all unclaimed property or interests in property
shall revert to the Wind-Down Debtors automatically and without need for a further order by the Bankruptcy Court
(notwithstanding any applicable federal, provincial, or state escheat, abandoned, or unclaimed property laws to the
contrary), and the Claim of any Holder of Claims and Interests to such property or Interest in property shall be
discharged and forever barred.

         5.   Surrender of Canceled Instruments or Securities.

         On the Effective Date or as soon as reasonably practicable thereafter, each holder of a certificate or
instrument evidencing a Claim or an Interest that has been cancelled in accordance with Article IV.D hereof shall be
deemed to have surrendered such certificate or instrument to the Distribution Agent. Such surrendered certificate or
instrument shall be cancelled solely with respect to the Debtors, and such cancellation shall not alter the obligations
or rights of any non-Debtor third parties vis-à-vis one another with respect to such certificate or instrument,
including with respect to any indenture or agreement that governs the rights of the Holder of a Claim or Interest,
which shall continue in effect for purposes of allowing Holders to receive distributions under the Plan, charging




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liens, priority of payment, and indemnification rights. Notwithstanding anything to the contrary herein, this
paragraph shall not apply to certificates or instruments evidencing Claims that are Reinstated under this Plan.

E.       Manner of Payment.

         All distributions of Cash to the Holders of the applicable Allowed Claims under the Plan shall be made by
the Distribution Agent on behalf of the applicable Debtor or Wind-Down Debtor.

         At the option of the Distribution Agent, any Cash payment to be made hereunder may be made by check or
wire transfer or as otherwise required or provided in applicable agreements or customary practices of the Debtors.

F.       Compliance with Tax Requirements.

          In connection with the Plan, to the extent applicable, the Debtors, Wind-Down Debtors, Distribution Agent,
and any applicable withholding agent shall comply with all tax withholding and reporting requirements imposed on
them by any Governmental Unit, and all distributions made pursuant to the Plan shall be subject to such withholding
and reporting requirements. Any amounts withheld pursuant to the preceding sentence shall be deemed to have been
distributed to and received by the applicable recipient for all purposes of the Plan. Notwithstanding any provision in
the Plan to the contrary, such parties shall be authorized to take all actions necessary or appropriate to comply with
such withholding and reporting requirements, including liquidating a portion of the distribution to be made under the
Plan to generate sufficient funds to pay applicable withholding taxes, withholding distributions pending receipt of
information necessary to facilitate such distributions, or establishing any other mechanisms they believe are
reasonable and appropriate. The Debtors and the Wind-Down Debtors reserve the right to allocate all distributions
made under the Plan in compliance with all applicable wage garnishments, alimony, child support, and similar
spousal awards, Liens, and encumbrances.

         Any person entitled to receive any property as an issuance or distribution under the Plan shall, upon
request, deliver to the applicable Distribution Agent an appropriate Form W-9 or (if the payee is a foreign Person)
Form W-8.

G.       Allocations.

         Distributions in respect of Allowed Claims shall be allocated first to the principal amount of such Claims
(as determined for federal income tax purposes) and then, to the extent the consideration exceeds the principal
amount of the Claims, to any portion of such Claims for accrued but unpaid interest.

H.       Foreign Currency Exchange Rate.

         Except as otherwise provided in a Final Order, as of the Effective Date, any Claim asserted in currency
other than U.S. dollars shall be automatically deemed converted to the equivalent U.S. dollar value using the
exchange rate for the applicable currency as published in The Wall Street Journal, National Edition, on the Effective
Date.

I.       Setoffs and Recoupment.

          Except as expressly provided in the DIP Order and this Plan, including pursuant to Article IX hereof, each
Wind-Down Debtor may, pursuant to section 553 of the Bankruptcy Code, set off and/or recoup against any Plan
Distributions to be made on account of any Allowed Claim, any and all claims, rights, and Causes of Action that
such Wind-Down Debtor may hold against the Holder of such Allowed Claim to the extent such setoff or
recoupment is either (1) agreed in amount among the relevant Wind-Down Debtor(s) and the Holder of the Allowed
Claim or (2) otherwise adjudicated by the Bankruptcy Court or another court of competent jurisdiction; provided
that neither the failure to effectuate a setoff or recoupment nor the allowance of any Claim hereunder shall constitute
a waiver or release by a Wind-Down Debtor or its successor of any and all claims, rights, and Causes of Action that
such Wind-Down Debtor or its successor may possess against the applicable Holder. In no event shall any Holder
of a Claim be entitled to recoup such Claim against any claim, right, or Causes of Action of the Debtors or the



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Wind-Down Debtors, as applicable, unless such Holder actually has performed such recoupment and provided
notice thereof in writing to the Debtors in accordance with Article XIII.G hereof on or before the Effective Date,
notwithstanding any indication in any Proof of Claim or otherwise that such Holder asserts, has, or intends to
preserve any right of recoupment.

J.       Claims Paid or Payable by Third Parties.

         1.   Claims Paid by Third Parties.

          The Debtors or Wind-Down Debtors, as applicable, shall reduce in full a Claim, and such Claim shall be
disallowed without a Claims objection having to be Filed and without any further notice to or action, order, or
approval of the Bankruptcy Court, to the extent that the Holder of such Claim receives payment in full on account of
such Claim from a party that is not a Debtor or a Wind-Down Debtor. To the extent a Holder of a Claim receives a
distribution on account of such Claim and thereafter receives payment from a party that is not a Debtor or a Wind-
Down Debtor on account of such Claim, such Holder shall, within fourteen days of receipt thereof, repay or return
the distribution to the applicable Wind-Down Debtor, to the extent the Holder’s total recovery on account of such
Claim from the third party and under the Plan exceeds the amount of such Claim as of the date of any such
distribution under the Plan. The failure of such Holder to timely repay or return such distribution shall result in the
Holder owing the applicable Wind-Down Debtor annualized interest at the Federal Judgment Rate on such amount
owed for each Business Day after the fourteen-day grace period specified above until the amount is repaid.

         2.   Claims Payable by Third Parties.

          No distributions under the Plan shall be made on account of an Allowed Claim that is payable pursuant to
one of the Debtors’ insurance policies until the Holder of such Allowed Claim has exhausted all remedies with
respect to such insurance policy. To the extent that one or more of the Debtors’ insurers agrees to satisfy in full or
in part a Claim (if and to the extent adjudicated by a court of competent jurisdiction), then immediately upon such
insurers’ agreement, the applicable portion of such Claim may be expunged without a Claims objection having to be
Filed and without any further notice to or action, order, or approval of the Bankruptcy Court.

         3.   Applicability of Insurance Policies.

         Except as otherwise provided in the Plan, distributions to Holders of Allowed Claims shall be in
accordance with the provisions of any applicable insurance policy. Nothing contained in the Plan shall constitute or
be deemed a waiver of any Causes of Action that the Debtors or any Entity may hold against any other Entity,
including insurers under any policies of insurance, nor shall anything contained herein constitute or be deemed a
waiver by such insurers of any defenses, including coverage defenses, held by such insurers.

                                                     ARTICLE VII.
                                          THE PLAN ADMINISTRATOR

A.       The Plan Administrator.

         The rights, powers, privileges, obligations, and compensation of the Plan Administrator shall be set forth in
the Plan Administrator Agreement, which shall be filed as part of the Plan Supplement.

B.       Wind Down.

        On and after the Effective Date, the Plan Administrator will be authorized and directed to implement the
Plan and any applicable orders of the Bankruptcy Court in accordance with the Wind-Down Budget, and the
Plan Administrator shall have the power and authority to take any action necessary to wind down and dissolve the
Debtors’ Estates in accordance with the Wind-Down Budget.

       As soon as practicable after the Effective Date, the Plan Administrator shall: (1) cause the Debtors and the
Wind-Down Debtors, as applicable, to comply with, and abide by, the terms of the Asset Purchase Agreement(s) and



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any other documents contemplated thereby; (2) to the extent applicable, file a certificate of dissolution or equivalent
document, together with all other necessary corporate and company documents, to effect the dissolution of the
Debtors under the applicable laws of their state of incorporation or formation (as applicable); and (3) take such other
actions in accordance with the Wind-Down Budget as the Plan Administrator may determine to be necessary or
desirable to carry out the purposes of the Plan. Any certificate of dissolution or equivalent document may be
executed by the Plan Administrator without need for any action or approval by the shareholders, board of directors
or managers, or Governing Body of any Wind-Down Debtor. From and after the Effective Date, except with respect
to the Wind-Down Debtors as set forth herein, the Debtors (1) for all purposes shall be deemed to have withdrawn
their business operations from any state in which the Debtors were previously conducting, or are registered or
licensed to conduct, their business operations, and shall not be required to file any document, pay any sum, or take
any other action in order to effectuate such withdrawal, (2) shall be deemed to have canceled pursuant to this Plan
all Interests, and (3) shall not be liable in any manner to any taxing authority for franchise, business, license, or
similar taxes accruing on or after the Effective Date. Notwithstanding the Debtors’ dissolution, the Debtors shall be
deemed to remain intact solely with respect to the preparation, filing, review, and resolution of applications for
Professional Fee Claims.

         The filing of the final monthly report (for the month in which the Effective Date occurs) and all subsequent
quarterly reports shall be the responsibility of the Plan Administrator.

         The Debtors shall include in the Plan Supplement a Wind-Down Budget.

C.       Tax Returns.

          From and after the Effective Date, the Plan Administrator shall complete and file all final or otherwise
required federal, state, and local tax returns for each of the Debtors reflecting all tax consequences relating to the
activities of the Wind-Down Debtors as attributable to and for the account of the Debtors, and, pursuant to
section 505(b) of the Bankruptcy Code, may request an expedited determination of any unpaid tax liability of such
Debtor or its Estate for any tax incurred during the administration of such Debtor’s Chapter 11 Case, as determined
under applicable tax laws.

D.       Dissolution of the Wind-Down Debtors.

         Upon a certification to be Filed with the Bankruptcy Court by the Plan Administrator of all distributions
having been made and completion of all its duties under the Plan and entry of a final decree closing the last of the
Chapter 11 Cases, the Wind-Down Debtors shall be deemed to be dissolved without any further action by the
Wind-Down Debtors, including the filing of any documents with the secretary of state for the state in which the
Wind-Down Debtors is formed or any other jurisdiction. The Plan Administrator, however, shall have authority to
take all necessary actions to dissolve the Wind-Down Debtors in and withdraw the Wind-Down Debtors from
applicable state(s).
                                          ARTICLE VIII.
                                  PROCEDURES FOR RESOLVING
                         CONTINGENT, UNLIQUIDATED, AND DISPUTED CLAIMS

         This Article VIII shall not apply to the DIP Claims and the Credit Facility Adequate Protection Claims, which
Claims shall be Allowed in full, without the need to file any Proofs of Claims against the Debtors, and will not be subject
to any avoidance, reductions, set off, offset, recharacterization, subordination (whether equitable, contractual or
otherwise), counterclaims, cross-claims, defenses, disallowance, impairment, objection, or any other challenges under any
applicable law or regulation by any Person or Entity.

A.       Allowance of Claims.

         The Debtors and the Wind-Down Debtors, as applicable, shall have the exclusive authority to determine,
without the need for notice to or action, order, or approval of the Bankruptcy Court, that a claim subject to any Proof
of Claim that is Filed is Allowed. Upon such determination, the Debtors or the Wind-Down Debtors, as applicable,
may update the Claims Register to reflect such Proofs of Claim as Allowed and, upon delivery of the applicable



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treatment for such Unimpaired Claims under Article III.B (including, for the avoidance of doubt, Reinstatement), to
mark such Proofs of Claims as satisfied. The Debtors may determine to Reinstate a claim that would be an
Unimpaired Claim under the Plan, even if no timely Proof of Claim is filed therefor.

B.       Claims Administration Responsibilities.

          The Debtors and the Wind-Down Debtors shall have the exclusive authority to (1) File, withdraw, or
litigate to judgment any objections to Claims, (2) settle or compromise any objections to Claims, including any
informal objections, without further notice to or action, order, or approval of the Bankruptcy Court, and (3)
administer and adjust the Claims Register to reflect such settlements or compromises without further notice to or
action, order, or approval of the Bankruptcy Court. Except as otherwise provided herein, from and after the
Effective Date, each Wind-Down Debtor shall have and retain any and all rights and defenses such Debtor had
immediately prior to the Effective Date with respect to any Claim or Interest (including any Disputed Claim or
Interest), including the Causes of Action retained pursuant to Article IV.C of the Plan.

         Any objections to Proofs of Claims (other than Administrative Claims) shall be served and Filed (a) on or
before the date that is one hundred and eighty days following the later of (i) the Effective Date and (ii) the date that a
Proof of Claim is Filed or amended or a Claim is otherwise asserted or amended in writing by or on behalf of a
Holder of a Claim or (b) such later date as ordered by the Bankruptcy Court.

C.       Disputed Claims Process.

         If the Debtors or Wind-Down Debtors dispute any Proof of Claim that is Filed on account of an
Unimpaired Claim, such dispute shall be determined, resolved, or adjudicated, as the case may be, in the manner as
if the Chapter 11 Cases had not been commenced and shall survive the Effective Date as if the Chapter 11 Cases had
not been commenced; provided that the Debtors or Wind-Down Debtors, as applicable, or the Holder of such Claim
may elect to have the validity or amount of any Claim adjudicated by the Bankruptcy Court instead. If a Holder
makes such an election, the Bankruptcy Court shall apply the law that would have governed the dispute if the
Chapter 11 Cases had not been filed.

         If the Debtors or Wind-Down Debtors, as applicable, dispute any Impaired Claim that is not Allowed as of
the Effective Date pursuant to Article III.B or a Final Order entered by the Bankruptcy Court (which may include
the Confirmation Order), the Debtors or Wind-Down Debtors, as applicable, may File an objection with the
Bankruptcy Court, in which case such dispute shall be determined, resolved, or adjudicated before, the Bankruptcy
Court.

D.       Estimation of Claims and Interests

          Before, on, or after the Effective Date, the Debtors or the Wind-Down Debtors, as applicable, may at any
time request that the Bankruptcy Court estimate any Disputed Claim or Interest that is contingent or unliquidated
pursuant to section 502(c) of the Bankruptcy Code for any reason, regardless of whether any party in interest
previously has objected to such Claim or Interest or whether the Bankruptcy Court has ruled on any such objection,
and the Bankruptcy Court shall retain jurisdiction to estimate any such Claim or Interest, including during the
litigation of any objection to any Claim or Interest or during the appeal relating to such objection. Notwithstanding
any provision otherwise in the Plan, a Claim that has been expunged from the Claims Register, but that either is
subject to appeal or has not been the subject of a Final Order, shall be deemed to be estimated at zero dollars, unless
otherwise ordered by the Bankruptcy Court. In the event that the Bankruptcy Court estimates any contingent or
unliquidated Claim or Interest, that estimated amount shall constitute a maximum limitation on such Claim or
Interest for all purposes under the Plan (including for purposes of distributions), and the relevant Wind-Down
Debtor may elect to pursue any supplemental proceedings to object to the allowance of, or any ultimate distribution
on, such Claim or Interest.




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E.       Adjustment to Claims or Interests without Objection.

         Any duplicate Claim or Interest or any Claim or Interest that has been paid, satisfied, amended, or
superseded may be adjusted or expunged on the Claims Register by the Wind-Down Debtors without the Wind-
Down Debtors having to File an application, motion, complaint, objection, or any other legal proceeding seeking to
object to such Claim or Interest and without any further notice to or action, order, or approval of the Bankruptcy
Court.

F.       Disallowance of Claims or Interests.

          Except as otherwise expressly set forth herein, and subject to the terms hereof, including Article IX, and the
DIP Order, all Claims and Interests of any Entity from which property is sought by the Debtors under sections 542,
543, 550, or 553 of the Bankruptcy Code or that the Debtors or the Wind-Down Debtors allege is a transferee of a
transfer that is avoidable under sections 522(f), 522(h), 544, 545, 547, 548, 549, or 724(a) of the Bankruptcy Code
shall be deemed disallowed if: (a) the Entity, on the one hand, and the Debtors or the Wind-Down Debtors, as
applicable, on the other hand, agree or the Bankruptcy Court has determined by Final Order that such Entity or
transferee is liable to turn over any property or monies under any of the aforementioned sections of the Bankruptcy
Code; and (b) such Entity or transferee has failed to turn over such property by the date set forth in such agreement
or Final Order.

        Except as otherwise provided herein or as agreed to by the Wind-Down Debtors, any and all Proofs
of Claim Filed after the Claims Bar Date shall be deemed disallowed and expunged as of the Effective Date
without any further notice to or action, order, or approval of the Bankruptcy Court, and Holders of such
Claims may not receive any distributions on account of such Claims, unless such late Proof of Claim has been
deemed timely Filed by a Final Order.

G.       No Distributions Pending Allowance.

         Notwithstanding any other provision of the Plan, if any portion of a Claim or Interest is a Disputed Claim
or Interest, as applicable, no payment or distribution provided hereunder shall be made on account of such Claim or
Interest unless and until such Disputed Claim or Interest becomes an Allowed Claim or Interest; provided that if
only the Allowed amount of an otherwise valid Claim or Interest is Disputed, such Claim or Interest shall be deemed
Allowed in the amount not Disputed and payment or distribution shall be made on account of such undisputed
amount.

H.       Distributions After Allowance.

          To the extent that a Disputed Claim or Interest ultimately becomes an Allowed Claim or Interest,
distributions (if any) shall be made to the Holder of such Allowed Claim or Interest in accordance with the
provisions of the Plan. As soon as reasonably practicable after the date that the order or judgment of the Bankruptcy
Court Allowing any Disputed Claim or Interest becomes a Final Order, the Distribution Agent shall provide to the
Holder of such Claim or Interest the distributions (if any) to which such Holder is entitled under the Plan as of the
Effective Date, without any interest to be paid on account of such Claim or Interest.

I.       No Postpetition Interest on Claims.

         Unless otherwise specifically provided for herein or by order of the Bankruptcy Court, including the
DIP Order, postpetition interest shall not accrue or be paid on Claims, and no Holder of a Claim shall be entitled to
interest accruing on or after the Petition Date on any Claim or right. Additionally, and without limiting the
foregoing, interest shall not accrue or be paid on any Disputed Claim with respect to the period from the Effective
Date to the date a final distribution is made on account of such Disputed Claim, if and when such Disputed Claim
becomes an Allowed Claim. DIP Claims shall accrue and be paid interest in accordance with the terms set forth in
the DIP Credit Agreement.




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                                        ARTICLE IX.
                 SETTLEMENT, RELEASE, INJUNCTION, AND RELATED PROVISIONS

A.       Discharge of Claims and Termination of Interests.

          Pursuant to, and to the maximum extent provided by, section 1141(d) of the Bankruptcy Code and except
as otherwise specifically provided in the Plan, or in any contract, instrument, or other agreement or document
created pursuant to the Plan, the distributions, rights, and treatment that are provided in the Plan shall be in complete
satisfaction, discharge, and release, effective as of the Effective Date, of Claims, Interests, and Causes of Action of
any nature whatsoever, including any interest accrued on Claims or Interests from and after the Petition Date,
whether known or unknown, against, liabilities of, liens on, obligations of, rights against, and Interests in the
Debtors or any of their assets or properties, regardless of whether any property shall have been distributed or
retained pursuant to the Plan on account of such Claims and Interests, including demands, liabilities, and Causes of
Action that arose before the Effective Date, any liability (including withdrawal liability) to the extent such Claims or
Interests relate to services that employees of the Debtors have performed prior to the Effective Date, and that arise
from a termination of employment, any contingent or non-contingent liability on account of representations or
warranties issued on or before the Effective Date, and all debts of the kind specified in sections 502(g), 502(h), or
502(i) of the Bankruptcy Code, in each case whether or not (1) a Proof of Claim based upon such debt or right is
Filed or deemed Filed pursuant to section 501 of the Bankruptcy Code, (2) a Claim or Interest based upon such debt,
right, or Interest is Allowed pursuant to section 502 of the Bankruptcy Code, or (3) the Holder of such a Claim or
Interest has accepted the Plan. The Confirmation Order, if applicable, shall be a judicial determination of the
discharge of all Claims and Interests subject to the occurrence of the Effective Date.

B.       Release of Liens.

         Except as otherwise provided in the Plan, the Confirmation Order, or in any contract, instrument,
release, or other agreement or document amended or created pursuant to the Plan, on the Effective Date and
concurrently with the applicable distributions made pursuant to the Plan and, in the case of a Secured Claim,
satisfaction in full of the portion of the Secured Claim that is Allowed as of the Effective Date, except for
Other Secured Claims that the Debtors elect to Reinstate in accordance with this Plan, all mortgages, deeds of
trust, Liens, pledges, or other security interests against any property of the Estates shall be fully released and
discharged, and all of the right, title, and interest of any holder of such mortgages, deeds of trust, Liens,
pledges, or other security interests shall revert to the Wind-Down Debtors and their successors and assigns.
Any Holder of such Secured Claim (and the applicable agents for such Holder (including the DIP Agent or
Credit Facility Agent)) shall be authorized and directed, at the sole cost and expense of the Wind-Down
Debtors, to release any collateral or other property of any Debtor (including any cash collateral and
possessory collateral) held by such Holder (and the applicable agents for such Holder (including the DIP
Agent or Credit Facility Agent)), and to take such actions as may be reasonably requested by the Wind-Down
Debtors to evidence the release of such Liens and/or security interests, including the execution, delivery, and
filing or recording of such releases. The presentation or filing of the Confirmation Order to or with any
federal, state, provincial, or local agency, records office, or department shall constitute good and sufficient
evidence of, but shall not be required to effect, the termination of such Liens.

         To the extent that any Holder of a Secured Claim that has been satisfied or discharged in full
pursuant to the Plan, or any agent for such Holder, has filed or recorded publicly any Liens and/or security
interests to secure such Holder’s Secured Claim, then as soon as practicable on or after the Effective Date,
such Holder (or the agent for such Holder) shall take any and all steps requested by the Debtors or the Wind-
Down Debtors that are necessary or desirable to record or effectuate the cancellation and/or extinguishment
of such Liens and/or security interests, including the making of any applicable filings or recordings, and the
Wind-Down Debtors shall be entitled to make any such filings or recordings on such Holder’s behalf.

         On the Effective Date, except as set forth in the Asset Purchase Agreement(s), the assets sold in such
Asset Sale(s) shall be transferred to and vest in the Purchaser(s) free and clear of all Liens, Claims, charges,
interests or other encumbrances pursuant to sections 363(f) and 1141(c) of the Bankruptcy Code and in
accordance with the terms of the Sale Order (which may be the Confirmation Order), the Plan, and the Asset
Purchase Agreement(s), as applicable.


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C.      Releases by the Debtors.

          Effective as of the Effective Date, pursuant to section 1123(b) of the Bankruptcy Code, for good and
valuable consideration, including the obligations of the Debtors under the Plan and the contributions and
services of the Released Parties in facilitating the expeditious reorganization of the Debtors and
implementation of the restructuring contemplated by the Plan, the adequacy of which is hereby confirmed,
on and after the Effective Date, each Released Party is conclusively, absolutely, unconditionally, irrevocably,
and forever released and discharged by each and all of the Debtors, the Wind-Down Debtors, and their
Estates, in each case on behalf of themselves and their respective successors, assigns, and representatives
(including any Plan Administrator that may be appointed), and any and all other Entities who may purport
to assert any claim or Cause of Action, directly or derivatively, by, through, for, or because of the foregoing
Entities, from any and all Claims, Interests, obligations, rights, suits, damages, Causes of Action, remedies,
and liabilities whatsoever, including any derivative claims, asserted or assertable on behalf of any of the
Debtors or their Estates, whether known or unknown, foreseen or unforeseen, matured or unmatured,
existing or hereafter arising, in law, equity, contract, tort, or otherwise, that the Debtors, the Wind-Down
Debtors, their Estates or their Affiliates would have been legally entitled to assert in their own right (whether
individually or collectively) or on behalf of the Holder of any Claim against, or Interest in, a Debtor or other
Entity, based on or relating to (including the formulation, preparation, dissemination, negotiation, entry into, or
filing of, as applicable), or in any manner arising from, in whole or in part, the Debtors (including the
management, ownership, or operation thereof), the purchase, sale, or rescission of the purchase or sale of any
security of the Debtors or the Wind-Down Debtors, the subject matter of, or the transactions or events giving
rise to, any Claim or Interest that is treated in the Plan, the business or contractual arrangements between
any Debtor and any Released Party, the Debtors’ in- or out-of-court restructuring efforts, the decision to file
the Chapter 11 Cases, any intercompany transactions, the Chapter 11 Cases, the Restructuring Support
Agreement, the Plan (including the Plan Supplement), the Disclosure Statement, the DIP Facility, the DIP
Documents, the Asset Purchase Agreement(s), the Credit Agreement, the pursuit of Confirmation and
Consummation, the pursuit of the Asset Sale(s), the pre- and postpetition marketing and sale process, the
administration and implementation of the Plan, including the issuance or distribution of Securities pursuant to the
Plan, or the distribution of property under the Plan or any other related agreement, but not, for the avoidance of
doubt, any legal opinion effective as of the Effective Date requested by any Entity regarding any transaction,
contract, instrument, document, or other agreement contemplated by the Plan, or upon any other act,
omission, transaction, agreement, event, or other occurrence taking place on or before the Effective Date.
Notwithstanding anything to the contrary in the foregoing, the releases set forth above do not release any
obligations arising on or after the Effective Date of any party or Entity under the Plan, any Restructuring
Transaction, or any document, instrument, or agreement (including those set forth in the Plan Supplement)
executed to implement the Plan as set forth in the Plan.

         Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval, pursuant to
Bankruptcy Rule 9019, of the Debtor Release, which includes by reference each of the related provisions and
definitions contained in the Plan, and further, shall constitute the Bankruptcy Court’s finding that the Debtor
Release is: (1) in exchange for the good and valuable consideration provided by the Released Parties,
including the Released Parties’ contributions to facilitating the Restructuring Transactions and implementing
the Plan; (2) a good faith settlement and compromise of the Causes of Action released by the Debtor Release;
(3) in the best interests of the Debtors and all Holders of Claims and Interests; (4) fair, equitable, and
reasonable; (5) given and made after due notice and opportunity for hearing; and (6) a bar to any of the
Debtors, the Wind-Down Debtors, or the Debtors’ Estates asserting any Claim or Cause of Action of any kind
whatsoever released pursuant to the Debtor Release.

D.      Releases by the Releasing Parties.

          Effective as of the Effective Date, in exchange for good and valuable consideration, including the
obligations of the Debtors under the Plan and the contributions and services of the Released Parties in
facilitating the expeditious reorganization of the Debtors and implementation of the restructuring
contemplated by the Plan, pursuant to section 1123(b) of the Bankruptcy Code, in each case except for
Claims arising under, or preserved by, the Plan, to the fullest extent permissible under applicable Law, each
Releasing Party (other than the Debtors or the Wind-Down Debtors), in each case on behalf of itself and its


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respective successors, assigns, and representatives, and any and all other entities who may purport to assert
any Claim, Cause of Action, directly or derivatively, by, through, for, or because of a Releasing Party, is
deemed to have conclusively, absolutely, unconditionally, irrevocably, and forever released and discharged
each Debtor, Wind-Down Debtor, and each other Released Party from any and all claims, interests,
obligations, rights, suits, damages, Causes of Action, remedies, and liabilities whatsoever, whether known or
unknown, foreseen or unforeseen, existing or hereafter arising, in law, equity or otherwise, including any
derivative claims, asserted or assertable on behalf of any of the Debtors, their Estates or their Affiliates, that
such Entity would have been legally entitled to assert (whether individually or collectively), based on or
relating to (including the formulation, preparation, dissemination, negotiation, entry into, or filing of, as
applicable), or in any manner arising from, in whole or in part, the Debtors (including the management,
ownership or operation thereof), the purchase, sale, or rescission of the purchase or sale of any security of the
Debtors or the Wind-Down Debtors, the subject matter of, or the transactions or events giving rise to, any
Claim or Interest that is treated in the Plan, the business or contractual arrangements between any Debtor
and any Released Party, the Debtors’ in- or out-of-court restructuring efforts, the decision to file the
Chapter 11 Cases, any intercompany transactions, the Chapter 11 Cases, the Restructuring Support
Agreement, the Plan (including the Plan Supplement), the Disclosure Statement, the DIP Facility, the DIP
Documents, the Asset Purchase Agreement(s), the Credit Agreement, the pursuit of Confirmation and
Consummation, the pursuit of the Asset Sale(s), the pre- and postpetition marketing and sale process, the
administration and implementation of the Plan, including the issuance or distribution of Securities pursuant to
the Plan, or the distribution of property under the Plan or any other related agreement, but not, for the
avoidance of doubt, any legal opinion effective as of the Effective Date requested by any Entity regarding any
transaction, contract, instrument, document, or other agreement contemplated by the Plan, or upon any
other act, omission, transaction, agreement, event, or other occurrence taking place on or before the Effective
Date. Notwithstanding anything to the contrary in the foregoing, the releases set forth above do not release any
obligations arising on or after the Effective Date of any party or Entity under the Plan, any Restructuring
Transaction, or any document, instrument, or agreement (including those set forth in the Plan Supplement)
executed to implement the Plan as set forth in the Plan.

         Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval, pursuant to
Bankruptcy Rule 9019, of the Third-Party Release, which includes by reference each of the related provisions
and definitions contained in this Plan, and, further, shall constitute the Bankruptcy Court’s finding that the
Third-Party Release is: (1) consensual; (2) essential to the confirmation of the Plan; (3) given in exchange for
the good and valuable consideration provided by the Released Parties, including the Released Parties’
contributions to facilitating the Restructuring Transactions and implementing the Plan; (4) a good faith
settlement and compromise of the Claims or Causes of Action released by the Third-Party Release; (5) in the
best interests of the Debtors and their Estates; (6) fair, equitable, and reasonable; (7) given and made after
due notice and opportunity for hearing; and (8) a bar to any of the Releasing Parties asserting any claim or
Cause of Action of any kind whatsoever released pursuant to the Third-Party Release.

E.      Exculpation.

         Effective as of the Effective Date, to the fullest extent permissible under applicable law and without
affecting or limiting either the Debtor Release or the Third-Party Release, and except as otherwise
specifically provided in the Plan, no Exculpated Party shall have or incur, and each Exculpated Party is
released and exculpated from any Cause of Action or any claim arising prior to the Effective Date related to
any act or omission in connection with, relating to, or arising out of, the Chapter 11 Cases, the formulation,
preparation, dissemination, negotiation, entry into, or filing of, as applicable the Chapter 11 Cases, the
Restructuring Support Agreement, the Disclosure Statement, the Plan (including the Plan Supplement), the
DIP Documents, the Asset Purchase Agreement(s), or any Restructuring Transaction, contract, instrument,
release, or other agreement or document created or entered into in connection with the Disclosure Statement
or the Plan, the filing of the Chapter 11 Cases, the pursuit of Confirmation, the pursuit of Consummation, the
administration and implementation of the Plan, including the issuance of Securities pursuant to the Plan, or
the distribution of property under the Plan or any other related agreement (excluding, for the avoidance of
doubt, providing any legal opinion effective as of the Effective Date requested by any Entity regarding any
transaction, contract, instrument, document, or other agreement contemplated by the Plan), except for claims
related to any act or omission that is determined in a Final Order to have constituted actual fraud, willful


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misconduct, or gross negligence, but in all respects such Entities shall be entitled to reasonably rely upon the
advice of counsel with respect to their duties and responsibilities pursuant to the Plan. The Exculpated
Parties have, and upon Consummation of the Plan shall be deemed to have, participated in good faith and in
compliance with the applicable laws with regard to the solicitation of votes and distribution of consideration
pursuant to the Plan and, therefore, are not, and on account of such distributions shall not be, liable at any
time for the violation of any applicable law, rule, or regulation governing the solicitation of acceptances or
rejections of the Plan or such distributions made pursuant to the Plan. This exculpation shall be in addition
to, and not in limitation of, all other releases, indemnities, exculpations, and any other applicable laws, rules,
or regulations protecting such Exculpated Parties from liability. Notwithstanding the foregoing, the
exculpation shall not release any obligation or liability of any Entity for any post-Effective Date obligation
under the Plan or any document, instrument or agreement (including those set forth in the Plan Supplement)
executed to implement the Plan.

F.      Injunction.

         Except as otherwise expressly provided in the Plan, or for obligations issued or required to be paid
pursuant to the Plan or the Confirmation Order, all Entities who have held, hold, or may hold claims or
interests that have been released, discharged, or are subject to exculpation are permanently enjoined, from
and after the Effective Date, from taking any of the following actions against, as applicable, the Debtors, the
Wind-Down Debtors, the Exculpated Parties, or the Released Parties: (1) commencing or continuing in any
manner any action or other proceeding of any kind on account of or in connection with or with respect to any
such claims or interests; (2) enforcing, attaching, collecting, or recovering by any manner or means any
judgment, award, decree, or order against such Entities on account of or in connection with or with respect to
any such claims or interests; (3) creating, perfecting, or enforcing any encumbrance of any kind against such
Entities or the property or the estates of such Entities on account of or in connection with or with respect to
any such claims or interests; (4) asserting any right of setoff, subrogation, or recoupment of any kind against
any obligation due from such Entities or against the property of such Entities on account of or in connection
with or with respect to any such claims or interests unless such holder has Filed a motion requesting the right
to perform such setoff on or before the Effective Date, and notwithstanding an indication of a claim or
interest or otherwise that such holder asserts, has, or intends to preserve any right of setoff pursuant to
applicable law or otherwise; and (5) commencing or continuing in any manner any action or other proceeding
of any kind on account of or in connection with or with respect to any such claims or interests released or
settled pursuant to the Plan.

         No Person or Entity may commence, continue, amend or pursue a Claim or Cause of Action or
Covered Claim, as applicable, of any kind against the Debtors, the Wind-Down Debtors, the Exculpated
Parties, the Released Parties, or Covered Parties, as applicable, that relates to or is reasonably likely to relate
to any act or omission in connection with, relating to, or arising out of a Claim or Cause of Action or Covered
Claim, as applicable, subject to Article IX.C, Article IX.D, and Article IX.E hereof, without the Bankruptcy
Court (i) first determining, after notice and a hearing, that such Claim or Cause of Action or Covered Claim,
as applicable, represents a colorable Claim of any kind, and (ii) specifically authorizing such Person or Entity
to bring such Claim or Cause of Action or Covered Claim, as applicable, against any such Debtor,
Wind-Down Debtor, Exculpated Party, Released Party, or Covered Party, as applicable. At the hearing for
the Bankruptcy Court to determine whether such Claim or Cause of Action represents a colorable Claim of
any kind, the Bankruptcy Court may, or shall if any Debtor, Wind-Down Debtor, Exculpated Party, Released
Party, or Covered Party, or other party in interest requests by motion (oral motion being sufficient), direct
that such Person or Entity seeking to commence or pursue such Claim or Cause of Action file a proposed
complaint with the Bankruptcy Court embodying such Claim or Cause of Action, such complaint satisfying
the applicable Rules of Federal Procedure, including, but not limited to, Rule 8 and Rule 9 (as applicable),
which the Bankruptcy Court shall assess before making a determination.

        The Bankruptcy Court will have jurisdiction to adjudicate the underlying colorable Claim or Cause
of Action.




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G.       Protections Against Discriminatory Treatment.

          Consistent with section 525 of the Bankruptcy Code and the Supremacy Clause of the U.S. Constitution, all
Entities, including Governmental Units, shall not discriminate against the Wind-Down Debtors or deny, revoke,
suspend, or refuse to renew a license, permit, charter, franchise, or other similar grant to, condition such a grant to,
discriminate with respect to such a grant against, the Wind-Down Debtors, or another Entity with whom the
Wind-Down Debtors have been associated, solely because each Debtor has been a debtor under chapter 11 of the
Bankruptcy Code, has been insolvent before the commencement of the Chapter 11 Cases (or during the Chapter 11
Cases but before the Debtors are granted or denied a discharge), or has not paid a debt that is dischargeable in the
Chapter 11 Cases.

H.       Document Retention.

         On and after the Effective Date, the Wind-Down Debtors may maintain documents in accordance with their
standard document retention policy, as may be altered, amended, modified, or supplemented by the Wind-Down
Debtors, so long as such alternation, amendment, modification, or supplement is not inconsistent with state law or
regulations.

I.       Reimbursement or Contribution.

         If the Bankruptcy Court disallows a Claim for reimbursement or contribution of an Entity pursuant to
section 502(e)(1)(B) of the Bankruptcy Code, then to the extent that such Claim is contingent as of the time of
allowance or disallowance, such Claim shall be forever disallowed and expunged notwithstanding section 502(j) of
the Bankruptcy Code, unless prior to the Confirmation Date: (1) such Claim has been adjudicated as non-contingent
or (2) the relevant Holder of a Claim has Filed a non-contingent Proof of Claim on account of such Claim and a
Final Order has been entered prior to the Confirmation Date determining such Claim as no longer contingent.

                                       ARTICLE X.
                    CONDITIONS PRECEDENT TO CONSUMMATION OF THE PLAN

A.       Conditions Precedent to the Effective Date.

        It shall be a condition to the Effective Date that the following conditions shall have been satisfied or
waived pursuant to the provisions of Article X.B hereof:

         a.   the Bankruptcy Court shall have entered the Sale Order (which may be the Confirmation Order) and
              Confirmation Order, each as applicable, Filed in a manner consistent in all material respects with the
              Plan;

         b.   the DIP Order shall have been entered by the Bankruptcy Court and shall remain in full force and
              effect;

         c.   the Debtors shall not be in default under the DIP Facility or the DIP Order (or, to the extent that the
              Debtors are in default on the proposed Effective Date, such default shall have been waived by the DIP
              Lenders or cured by the Debtors in a manner consistent with the DIP Documents or DIP Order) and
              there shall not have occurred and/or be continuing any event, act, or omission that, but for the
              expiration of time, would permit any DIP Lender to terminate the DIP Facility in accordance with its
              terms upon the expiration of such time and the DIP Credit Agreement shall be in full force and effect;

         d.   the Debtors shall have paid in full in Cash (or the Debtors shall pay in full in Cash substantially
              contemporaneously with consummation of the Restructuring Transactions) all Restructuring Expenses
              incurred or estimated to be incurred, through the Effective Date;

         e.   the Debtors shall have obtained all authorizations, consents, regulatory approvals, rulings, or
              documents that are necessary to implement and effectuate the Plan. as applicable;



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         f.   the final version of the Plan Supplement and all of the schedules, documents, and exhibits contained
              therein shall have been Filed in a manner consistent in all material respects with the Plan;

         g.   all Professional Fee Amounts that require the approval of the Bankruptcy Court shall have been paid in
              full or amounts sufficient to pay such fees and expenses after the Effective Date shall have been
              funded into the Professional Fee Escrow Account pending the approval of such fees and expenses by
              the Bankruptcy Court;

         h.   the Restructuring Support Agreement shall remain in full force and effect;

         i.   no court of competent jurisdiction or other competent governmental or regulatory authority shall have
              issued a final and non-appealable order making illegal or otherwise restricting, preventing or
              prohibiting the consummation of the Plan;

         j.   the Asset Purchase Agreement(s) shall have been executed and remain in full force and effect;

         k.   the conditions to effectiveness to the Asset Purchase Agreement(s) shall have been duly satisfied or
              waived;

         l.   if the Asset Sale(s) is approved under a Sale Order that is not the Confirmation Order, the Sale Order
              shall have been entered by the Bankruptcy Court and shall remain in full force and effect, and the
              Asset Sale(s) shall have been consummated;

        m. the following documents shall be in full force and effect substantially contemporaneous with the
           consummation of the Restructuring Transactions (including shall not be stayed, modified, revised, or
           vacated, or subject to any pending appeal), and shall not have been terminated prior to the Effective
           Date: (a) any Sale Order; (b) such other motions, orders, agreements, and documentation necessary or
           desirable to consummate and document the transactions contemplated by this Plan; (c) to the extent not
           included in the foregoing, all financing documents needed to effectuate the Restructuring Transactions,
           and (d) all other material customary documents delivered in connection with transactions of this type
           (including any and all other documents implementing, achieving, contemplated by or relating to the
           Restructuring Transactions); and

        n.    the Debtors shall have otherwise substantially consummated the applicable Restructuring Transactions
              in a manner consistent in all respects with the Restructuring Support Agreement and the Plan.

B.      Waiver of Conditions.

         Except as otherwise specified in this Plan, any one or more of the conditions to Consummation
(or any component thereof) set forth in this Article X may be waived by the Debtors with the prior written consent
of the Credit Facility Agent and with the consent of the DIP Lenders, without notice, leave, or order of the
Bankruptcy Court or any formal action other than proceedings to confirm or consummate the Plan.

C.      Effect of Failure of Conditions.

         If Consummation does not occur as to any Debtor, the Plan shall be null and void in all respects as to such
Debtor and nothing contained in the Plan or the Disclosure Statement shall: (1) constitute a waiver or release of any
Claims by the Debtors, any Holders of Claims or Interests, or any other Entity; (2) prejudice in any manner the
rights of the Debtors, any Holders of Claims or Interests, or any other Entity; or (3) constitute an admission,
acknowledgment, offer, or undertaking by the Debtors, any Holders of Claims or Interests, or any other Entity.

D.      Substantial Consummation

         “Substantial Consummation” of the Plan, as defined in 11 U.S.C. § 1101(2), shall be deemed to occur on
the Effective Date.



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                                       ARTICLE XI.
                   MODIFICATION, REVOCATION, OR WITHDRAWAL OF THE PLAN

A.       Modification and Amendments.

          Except as otherwise specifically provided in this Plan, and subject to the limitations and rights contained in
the Restructuring Support Agreement, the Debtors reserve the right to modify the Plan, subject to the reasonable
consent of the DIP Lenders, the Credit Facility Lenders, and the Sponsor (except with respect to modifications
which adversely affect the DIP Lenders or the Credit Facility Lenders, which shall be subject to the DIP Lenders’
and Credit Facility Lenders’ consent), whether such modification is material or immaterial, and seek Confirmation
consistent with the Bankruptcy Code and, as appropriate, not resolicit votes on such modified Plan. Subject to
(1) those restrictions on modifications set forth in the Plan, the Restructuring Support Agreement, and the
requirements of section 1127 of the Bankruptcy Code, Rule 3019 of the Federal Rules of Bankruptcy Procedure,
and, to the extent applicable, sections 1122, 1123, and 1125 of the Bankruptcy Code, the Debtors expressly reserve
their right to revoke or withdraw, or to alter, amend, or modify the Plan, one or more times, after Confirmation, and,
to the extent necessary may initiate proceedings in the Bankruptcy Court to so alter, amend, or modify the Plan, or
remedy any defect or omission, or reconcile any inconsistencies in the Plan, the Disclosure Statement, or the
Confirmation Order, in such matters as may be necessary to carry out the purposes and intent of the Plan, and in all
cases subject to the reasonable consent of the DIP Lenders, the Credit Facility Lenders, and the Sponsor (except
with respect to any modifications, amendments, or alterations which adversely affect the DIP Lenders or the Credit
Facility Lenders, which shall be subject to the DIP Lenders’ and the Credit Facility Lenders’ consent).

B.       Effect of Confirmation on Modifications.

          Entry of the Confirmation Order shall mean that all modifications or amendments to the Plan since the
solicitation thereof are approved pursuant to section 1127(a) of the Bankruptcy Code and do not require additional
disclosure or resolicitation under Bankruptcy Rule 3019.

C.       Revocation or Withdrawal of Plan.

         The Debtors, subject to the DIP Lenders’ consent, reserve the right to revoke or withdraw the Plan prior to
the Confirmation Date and to File subsequent plans of reorganization. If the Debtors revoke or withdraw the Plan,
or if Confirmation or Consummation does not occur, then: (1) the Plan shall be null and void in all respects; (2) any
settlement or compromise embodied in the Plan (including the fixing or limiting to an amount certain of any Claim
or Interest or Class of Claims or Interests), assumption or rejection of Executory Contracts or Unexpired Leases
effected under the Plan, and any document or agreement executed pursuant to the Plan, shall be deemed null and
void; and (3) nothing contained in the Plan shall: (a) constitute a waiver or release of any Claims or Interests;
(b) prejudice in any manner the rights of such Debtor or any other Entity; or (c) constitute an admission,
acknowledgement, offer, or undertaking of any sort by such Debtor or any other Entity.

                                               ARTICLE XII.
                                        RETENTION OF JURISDICTION

          Notwithstanding the entry of the Confirmation Order and the occurrence of the Effective Date, on and after
the Effective Date, the Bankruptcy Court shall retain exclusive jurisdiction over all matters arising out of, or relating
to, the Chapter 11 Cases and the Plan pursuant to sections 105(a) and 1142 of the Bankruptcy Code, including
jurisdiction to:

         a.   allow, disallow, determine, liquidate, classify, estimate, or establish the priority, secured or unsecured
              status, or amount of any Claim or Interest, including the resolution of any request for payment of any
              Administrative Claim and the resolution of any and all objections to the secured or unsecured status,
              priority, amount, or allowance of Claims or Interests;




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a.   decide and resolve all matters related to the granting and denying, in whole or in part, any applications
     for allowance of compensation or reimbursement of expenses to Professionals authorized pursuant to
     the Bankruptcy Code or the Plan;

b.   resolve any matters related to: (a) the assumption, assumption and assignment, or rejection of any
     Executory Contract or Unexpired Lease to which a Debtor is party or with respect to which a Debtor
     may be liable and to hear, determine, and, if necessary, liquidate, any Claims arising therefrom,
     including Cure pursuant to section 365 of the Bankruptcy Code; (b) any potential contractual
     obligation under any Executory Contract or Unexpired Lease that is assumed; (c) the Wind-Down
     Debtors amending, modifying, or supplementing, after the Effective Date, pursuant to Article V hereof,
     any Executory Contracts or Unexpired Leases to the list of Executory Contracts and Unexpired Leases
     to be assumed or rejected or otherwise; and (d) any dispute regarding whether a contract or lease is or
     was executory or expired;

c.   ensure that distributions to Holders of Allowed Claims and Allowed Interests (as applicable) are
     accomplished pursuant to the provisions of the Plan and adjudicate any and all disputes arising from or
     relating to distributions under the Plan;

d.   adjudicate, decide, or resolve any motions, adversary proceedings, contested or litigated matters, and
     any other matters, and grant or deny any applications involving a Debtor that may be pending on the
     Effective Date;

e.   adjudicate, decide, or resolve any and all matters related to section 1141 of the Bankruptcy Code;

f.   enter and implement such orders as may be necessary to execute, implement, or consummate the
     provisions of the Plan and all contracts, instruments, releases, indentures, and other agreements or
     documents created or entered into in connection with the Plan, the Plan Supplement, or the Disclosure
     Statement;

g.   enter and enforce any order for the sale of property, including pursuant to any Asset Sale, pursuant to
     sections 363, 1123, or 1146(a) of the Bankruptcy Code;

h.   resolve any cases, controversies, suits, disputes, or Causes of Action that may arise in connection with
     the Consummation, interpretation, or enforcement of the Plan or any Entity’s obligations incurred in
     connection with the Plan;

i.   issue injunctions, enter and implement other orders, or take such other actions as may be necessary to
     restrain interference by any Entity with Consummation or enforcement of the Plan;

j.   resolve any cases, controversies, suits, disputes, or Causes of Action with respect to the releases,
     injunctions, exculpations, and other provisions contained in Article IX hereof and enter such orders as
     may be necessary or appropriate to implement such releases, injunctions, and other provisions;

k.   resolve any cases, controversies, suits, disputes, or Causes of Action with respect to the repayment or
     return of distributions and the recovery of additional amounts owed by the Holder of a Claim or
     Interest for amounts not timely repaid pursuant to Article VI.J hereof;

l.   enter and implement such orders as are necessary if the Confirmation Order is for any reason modified,
     stayed, reversed, revoked, or vacated;

m. determine any other matters that may arise in connection with or relate to the Plan, the Plan
   Supplement, the Disclosure Statement, the Confirmation Order, or any contract, instrument, release,
   indenture, or other agreement or document created in connection with the Plan or the Disclosure
   Statement, including the Restructuring Support Agreement;




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         n.   enter an order or final decree concluding or closing any of the Chapter 11 Cases;

         o.   adjudicate any and all disputes arising from or relating to distributions under the Plan;

         p.   consider any modifications of the Plan, to cure any defect or omission, or to reconcile any
              inconsistency in any Bankruptcy Court order, including the Confirmation Order;

         q.   determine requests for the payment of Claims and Interests entitled to priority pursuant to section 507
              of the Bankruptcy Code;

         r.   hear and determine disputes arising in connection with the interpretation, implementation, or
              enforcement of the Plan or the Confirmation Order, including disputes arising under agreements,
              documents, or instruments executed in connection with the Plan;

         s.   hear and determine matters concerning state, local, and federal taxes in accordance with sections 346,
              505, and 1146 of the Bankruptcy Code;

         t.   hear and determine all disputes involving the existence, nature, scope, or enforcement of any
              exculpations, discharges, injunctions, and releases granted in the Plan, including under Article IX
              hereof;

         u.   enforce all orders previously entered by the Bankruptcy Court; and

         v.   hear any other matter not inconsistent with the Bankruptcy Code.

                                              ARTICLE XIII.
                                        MISCELLANEOUS PROVISIONS

A.       Immediate Binding Effect.

         Subject to Article X.A hereof and notwithstanding Bankruptcy Rules 3020(e), 6004(h), or 7062 or
otherwise, upon the occurrence of the Effective Date, the terms of the Plan (including, for the avoidance of doubt,
the documents and instruments contained in the Plan Supplement) shall be immediately effective and enforceable
and deemed binding upon the Debtors, the Wind-Down Debtors, any and all Holders of Claims or Interests
(irrespective of whether such Holders of Claims or Interests (a) are Impaired or Unimpaired, (b) have, or are deemed
to have accepted the Plan, or (c) failed to vote to accept or reject the Plan),

         All Entities that are parties to or are subject to the settlements, compromises, releases, discharges, and
injunctions described in the Plan, each Entity acquiring property under the Plan, and any and all non-Debtor parties
to Executory Contracts and Unexpired Leases with the Debtors.

B.       Additional Documents.

         On or before the Effective Date, the Debtors may File with the Bankruptcy Court such agreements and
other documents as may be necessary to effectuate and further evidence the terms and conditions of the Plan and the
Restructuring Support Agreement. The Debtors or the Wind-Down Debtors, as applicable, and all Holders of
Claims or Interests receiving distributions pursuant to the Plan and all other parties in interest shall, from time to
time, prepare, execute, and deliver any agreements or documents and take any other actions as may be necessary or
advisable to effectuate the provisions and intent of the Plan.

C.       Payment of Statutory Fees.

         All fees payable pursuant to section 1930(a) of the Judicial Code, as determined by the Bankruptcy Court at
a hearing pursuant to section 1128 of the Bankruptcy Code, shall be paid by each of the Wind-Down Debtors (or the
Distribution Agent on behalf of each of the Wind-Down Debtors) for each quarter (including any fraction thereof)



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until the earlier of entry of a final decree closing such Chapter 11 Cases or an order of dismissal or conversion,
whichever comes first. Notwithstanding anything to the contrary herein, the U.S. Trustee shall not be required to
File a Proof of Claim or any other request for payment of quarterly fees.

D.       Statutory Committee and Cessation of Fee and Expense Payment.

          On the Effective Date, the Committee and any other statutory committee appointed in the Chapter 11 Cases
shall dissolve and members thereof shall be released and discharged from all rights and duties from or related to the
Chapter 11 Cases; provided, however, that the Committee will stay in existence solely for the purpose of filing and
prosecuting fee applications and any pending appeal to which the Committee is a party. The Wind-Down Debtors
shall no longer be responsible for paying any fees or expenses incurred by the members of or advisors to any
statutory committees after the Effective Date, except for fees and expenses incurred by the Committee’s
professionals in connection with filing and prosecuting fee applications and any pending appeal to which the
Committee is a party.

E.       Reservation of Rights.

          Except as expressly set forth in the Plan, the Plan shall have no force or effect unless the Bankruptcy Court
shall enter the Confirmation Order, and the Confirmation Order shall have no force or effect if the Effective Date
does not occur. None of the Filing of the Plan, any statement or provision contained in the Plan, or the taking of any
action by any Debtor with respect to the Plan, the Disclosure Statement, or the Plan Supplement shall be or shall be
deemed to be an admission or waiver of any rights of any Debtor with respect to the Holders of Claims or Interests
prior to the Effective Date.

F.       Successors and Assigns.

          The rights, benefits, and obligations of any Entity named or referred to in the Plan shall be binding on, and
shall inure to the benefit of any heir, executor, administrator, successor or assign, Affiliate, officer, manager,
director, agent, representative, attorney, beneficiaries, or guardian, if any, of each Entity.

G.       Notices.

         All notices, requests, and demands to or upon the Debtors to be effective shall be in writing
(including by facsimile transmission) and, unless otherwise expressly provided herein, shall be deemed to have been
duly given or made when actually delivered or, in the case of notice by facsimile transmission, when received and
telephonically confirmed, addressed as follows:


                    Debtors                                              Counsel to the Debtors
Center for Autism and Related Disorders, LLC        Kirkland & Ellis LLP
9089 S Pecos Rd., Suite 3600                        601 Lexington Avenue
Henderson, Nevada 89074                             New York, New York 10022
Attention: Michelle Rapoport                        Attention: Christopher Greco and Allyson Smith
                                                    (cgreco@kirkland.com; allyson.smith@kirkland.com)
                                                    -and-
                                                    Kirkland & Ellis LLP
                                                    300 North LaSalle
                                                    Chicago, Illinois 60654
                                                    Attention: Claire E. Stephens and Gabriela Zamfir Hensley
                                                    (claire.stephens@kirkland.com; gabriela.hensley@kirkland.com)
                                                    -and-
                                                    Jackson Walker L.L.P.
                                                    1401 McKinney Street, Suite 1900



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                                                    Houston, Texas 77010
                                                    Attention: Matthew D. Cavenaugh, Jennifer F. Wertz, J. Machir
                                                    Stull, and Victoria N. Argeroplos (mcavenaugh@jw.com;
                                                    jwertz@jw.com; mstull@jw.com; vargeroplos@jw.com)

            United States Trustee                      Counsel to the DIP Lenders and Credit Facility Lenders
Office of The United States Trustee                 Latham & Watkins LLP
515 Rusk Street, Suite 3516                         1271 Avenue of Americas
Houston, TX 77002                                   New York, NY 10020
Attention: Jana Smith Whitworth, Casey Roy          Attention: James Kstanes, Asif Attarwala, and Nacif Taousse
(jana.whitworth@usdoj.gov;                          (james.ktsanes@lw.com; asif.attarwala@lw.com;
casey.roy@usdoj.gov)                                nacif.taousse@lw.com)


         After the Effective Date, the Wind-Down Debtors have the authority to send a notice to Entities that to
continue to receive documents pursuant to Bankruptcy Rule 2002, such Entity must file a renewed request to receive
documents pursuant to Bankruptcy Rule 2002. After the Effective Date, the Wind-Down Debtors are authorized to
limit the list of Entities receiving documents pursuant to Bankruptcy Rule 2002 to those Entities who have Filed
such renewed requests.

H.       Term of Injunctions or Stays.

          Unless otherwise provided in the Plan or in the Confirmation Order, all injunctions or stays in effect in the
Chapter 11 Cases pursuant to sections 105 or 362 of the Bankruptcy Code or any order of the Bankruptcy Court, and
extant on the Confirmation Date (excluding any injunctions or stays contained in the Plan or the
Confirmation Order) shall remain in full force and effect until the Effective Date. All injunctions or stays contained
in the Plan or the Confirmation Order shall remain in full force and effect in accordance with their terms.

I.       Entire Agreement.

         Except as otherwise indicated, and without limiting the effectiveness of the Restructuring Support
Agreement, the Plan (including, for the avoidance of doubt, the documents and instruments in the Plan Supplement)
supersedes all previous and contemporaneous negotiations, promises, covenants, agreements, understandings, and
representations on such subjects, all of which have become merged and integrated into the Plan.

J.       Plan Supplement.

           All exhibits and documents included in the Plan Supplement are incorporated into and are a part of the Plan
as if set forth in full in the Plan. After the exhibits and documents are Filed, copies of such exhibits and documents
shall be available upon written request to the Debtors’ counsel at the address above or by downloading such exhibits
and documents from the Debtors’ restructuring website at https://cases.stretto.com/CARD or the Bankruptcy Court’s
website at http://ecf.txsd.uscourts.gov/. To the extent any exhibit or document is inconsistent with the terms of the
Plan, unless otherwise ordered by the Bankruptcy Court, the non-exhibit or non-document portion of the Plan
shall control.

K.       Nonseverability of Plan Provisions.

         If, prior to Confirmation, any term or provision of the Plan is held by the Bankruptcy Court to be invalid,
void, or unenforceable, the Bankruptcy Court shall have the power to alter and interpret such term or provision to
make it valid or enforceable to the maximum extent practicable, consistent with the original purpose of the term or
provision held to be invalid, void, or unenforceable, and such term or provision shall then be applicable as altered or
interpreted. Notwithstanding any such holding, alteration, or interpretation, the remainder of the terms and
provisions of the Plan will remain in full force and effect and will in no way be affected, impaired, or invalidated by
such holding, alteration, or interpretation. The Confirmation Order shall constitute a judicial determination and shall
provide that each term and provision of the Plan, as it may have been altered or interpreted in accordance with the



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foregoing, is: (1) valid and enforceable pursuant to its terms; (2) integral to the Plan and may not be deleted or
modified without the Debtors’ or the Wind-Down Debtors’ consent, as applicable; and (3) nonseverable and
mutually dependent.

L.       Votes Solicited in Good Faith.

          Upon entry of the Confirmation Order, each of the Released Parties and Exculpated Parties will be deemed
to have solicited votes on the Plan in good faith and in compliance with section 1125(g) of the Bankruptcy Code,
and pursuant to section 1125(e) of the Bankruptcy Code, each of the Released Parties and Exculpated Parties and
each of their respective Affiliates, agents, representatives, members, principals, shareholders, officers, directors,
managers employees, advisors, and attorneys will be deemed to have participated in good faith and in compliance
with the Bankruptcy Code in the offer, issuance, sale, and purchase of securities offered and sold under the Plan and
any previous plan, and, therefore, no such parties or individuals or the Wind-Down Debtors, the Released Parties, or
the Exculpated Parties will have any liability for the violation of any applicable law, rule, or regulation governing
the solicitation of votes on the Plan or the offer, issuance, sale, or purchase of the Securities offered and sold under
the Plan and any previous plan.

M.       Closing of Chapter 11 Cases.

        The Wind-Down Debtors shall, promptly after the full administration of the Chapter 11 Cases, File with the
Bankruptcy Court all documents required by Bankruptcy Rule 3022 and any applicable order of the
Bankruptcy Court to close the Chapter 11 Cases.

N.       Waiver or Estoppel.

         Each Holder of a Claim or an Interest shall be deemed to have waived any right to assert any argument,
including the right to argue that its Claim or Interest should be Allowed in a certain amount, in a certain priority,
secured or not subordinated by virtue of an agreement made with the Debtors or their counsel, or any other Entity, if
such agreement was not disclosed in the Plan, the Disclosure Statement, the Restructuring Support Agreement, or
papers Filed with the Bankruptcy Court prior to the Confirmation Date.

O.       Creditor Default

         An act or omission by a Holder of a Claim or an Interest in contravention of the provisions of this Plan
shall be deemed an event of default under this Plan. Upon an event of default, the Wind-Down Debtors may seek to
hold the defaulting party in contempt of the Confirmation Order and shall be entitled to reasonable attorneys’ fees
and costs of the Wind-Down Debtors in remedying such default. Upon the finding of such a default by a creditor,
the Bankruptcy Court may: (a) designate a party to appear, sign and/or accept the documents required under the
Plan on behalf of the defaulting party, in accordance with Bankruptcy Rule 7070; (b) enforce the Plan by order of
specific performance; (c) award judgment against such defaulting creditor in favor of the Wind-Down Debtors in an
amount, including interest, to compensate the Wind-Down Debtors for the damages caused by such default; and (d)
make such other order as may be equitable that does not materially alter the terms of the Plan.




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Dated: June 12, 2023             CENTER FOR AUTISM AND RELATED DISORDERS, LLC
                                 on behalf of itself and all other Debtors

                                 By: /s/ Steven Shenker
                                     Steven Shenker
                                     Chief Restructuring Officer
                                     CARD Holdings, LLC
